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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 ENTROPIC COMMUNICATIONS, LLC,                  §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §      CASE NO. 2:22-CV-00125-JRG
                                                §
 CHARTER COMMUNICATIONS, INC.,                  §
                                                §
      Defendant.                                §
                                                §
                                                §

                              CLAIM CONSTRUCTION
                          MEMORANDUM OPINION AND ORDER

         Before the Court is the Opening Claim Construction Brief (Dkt. No. 97) filed by Plaintiff

Entropic Communications, LLC (“Plaintiff” or “Entropic”). Also before the Court are the

Responsive Claim Construction Brief (Dkt. No. 104) filed by Defendant Charter Communications,

Inc. (“Defendant” or “Charter”) and Plaintiff’s reply (Dkt. No. 110). The Court held a hearing on

June 13, 2023.
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                                       I. BACKGROUND

       Plaintiff alleges infringement of United States Patents No. 8,223,775 (“the ’775 Patent”),

8,792,008 (“the ’008 Patent”), 9,825,826 (“the ’826 Patent”), 8,284,690 (“the ’690 Patent”),

9,210,362 (“the ’362 Patent”), and 10,135,682 (“the ’682 Patent”) (collectively, the “patents-in-

suit”). (Dkt. 97, Exs. 1–6.)

                                   II. LEGAL PRINCIPLES

       It is understood that “[a] claim in a patent provides the metes and bounds of the right which

the patent confers on the patentee to exclude others from making, using or selling the protected

invention.” Burke, Inc. v. Bruno Indep. Living Aids, Inc., 183 F.3d 1334, 1340 (Fed. Cir. 1999).

Claim construction is an issue of law for the court to decide. Markman v. Westview Instruments,

Inc., 52 F.3d 967, 970–71 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996).

       “In some cases, however, the district court will need to look beyond the patent’s intrinsic

evidence and to consult extrinsic evidence in order to understand, for example, the background

science or the meaning of a term in the relevant art during the relevant time period.” Teva Pharm.

USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015) (citation omitted). “In cases where those

subsidiary facts are in dispute, courts will need to make subsidiary factual findings about that

extrinsic evidence. These are the ‘evidentiary underpinnings’ of claim construction that we

discussed in Markman, and this subsidiary factfinding must be reviewed for clear error on appeal.”

Id. (citing 517 U.S. 370).

       To ascertain the meaning of claims, courts look to three primary sources: the claims, the

specification, and the prosecution history. Markman, 52 F.3d at 979. The specification must

contain a written description of the invention that enables one of ordinary skill in the art to make

and use the invention. Id. A patent’s claims must be read in view of the specification, of which



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they are a part. Id. For claim construction purposes, the description may act as a sort of dictionary,

which explains the invention and may define terms used in the claims. Id. “One purpose for

examining the specification is to determine if the patentee has limited the scope of the claims.”

Watts v. XL Sys., Inc., 232 F.3d 877, 882 (Fed. Cir. 2000).

        Nonetheless, it is the function of the claims, not the specification, to set forth the limits of

the patentee’s invention. Otherwise, there would be no need for claims. SRI Int’l v. Matsushita

Elec. Corp., 775 F.2d 1107, 1121 (Fed. Cir. 1985) (en banc). The patentee is free to be his own

lexicographer, but any special definition given to a word must be clearly set forth in the

specification. Intellicall, Inc. v. Phonometrics, Inc., 952 F.2d 1384, 1388 (Fed. Cir. 1992).

Although the specification may indicate that certain embodiments are preferred, particular

embodiments appearing in the specification will not be read into the claims when the claim

language is broader than the embodiments. Electro Med. Sys., S.A. v. Cooper Life Sciences, Inc.,

34 F.3d 1048, 1054 (Fed. Cir. 1994).

        This Court’s claim construction analysis is substantially guided by the Federal Circuit’s

decision in Phillips v. AWH Corporation, 415 F.3d 1303 (Fed. Cir. 2005) (en banc). In Phillips,

the court set forth several guideposts that courts should follow when construing claims. In

particular, the court reiterated that “the claims of a patent define the invention to which the patentee

is entitled the right to exclude.” Id. at 1312 (quoting Innova/Pure Water, Inc. v. Safari Water

Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)). To that end, the words used in a claim

are generally given their ordinary and customary meaning. Id. The ordinary and customary

meaning of a claim term “is the meaning that the term would have to a person of ordinary skill in

the art in question at the time of the invention, i.e., as of the effective filing date of the patent

application.” Id. at 1313. This principle of patent law flows naturally from the recognition that



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inventors are usually persons who are skilled in the field of the invention and that patents are

addressed to, and intended to be read by, others skilled in the particular art. Id.

       Despite the importance of claim terms, Phillips made clear that “the person of ordinary

skill in the art is deemed to read the claim term not only in the context of the particular claim in

which the disputed term appears, but in the context of the entire patent, including the

specification.” Id. Although the claims themselves may provide guidance as to the meaning of

particular terms, those terms are part of “a fully integrated written instrument.” Id. at 1315

(quoting Markman, 52 F.3d at 978). Thus, the Phillips court emphasized the specification as being

the primary basis for construing the claims. Id. at 1314–17. As the Supreme Court stated long

ago, “in case of doubt or ambiguity it is proper in all cases to refer back to the descriptive portions

of the specification to aid in solving the doubt or in ascertaining the true intent and meaning of the

language employed in the claims.” Bates v. Coe, 98 U.S. 31, 38 (1878). In addressing the role of

the specification, the Phillips court quoted with approval its earlier observations from Renishaw

PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998):

       Ultimately, the interpretation to be given a term can only be determined and
       confirmed with a full understanding of what the inventors actually invented and
       intended to envelop with the claim. The construction that stays true to the claim
       language and most naturally aligns with the patent’s description of the invention
       will be, in the end, the correct construction.

Phillips, 415 F.3d at 1316. Consequently, Phillips emphasized the important role the specification

plays in the claim construction process.

       The prosecution history also continues to play an important role in claim interpretation.

Like the specification, the prosecution history helps to demonstrate how the inventor and the

United States Patent and Trademark Office (“PTO”) understood the patent. Id. at 1317. Because

the file history, however, “represents an ongoing negotiation between the PTO and the applicant,”



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it may lack the clarity of the specification and thus be less useful in claim construction proceedings.

Id. Nevertheless, the prosecution history is intrinsic evidence that is relevant to the determination

of how the inventor understood the invention and whether the inventor limited the invention during

prosecution by narrowing the scope of the claims. Id.; see Microsoft Corp. v. Multi-Tech Sys.,

Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004) (noting that “a patentee’s statements during

prosecution, whether relied on by the examiner or not, are relevant to claim interpretation”).

       Phillips rejected any claim construction approach that sacrificed the intrinsic record in

favor of extrinsic evidence, such as dictionary definitions or expert testimony. The en banc court

condemned the suggestion made by Texas Digital Systems, Inc. v. Telegenix, Inc., 308 F.3d 1193

(Fed. Cir. 2002), that a court should discern the ordinary meaning of the claim terms (through

dictionaries or otherwise) before resorting to the specification for certain limited purposes.

Phillips, 415 F.3d at 1319–24. According to Phillips, reliance on dictionary definitions at the

expense of the specification had the effect of “focus[ing] the inquiry on the abstract meaning of

words rather than on the meaning of claim terms within the context of the patent.” Id. at 1321.

Phillips emphasized that the patent system is based on the proposition that the claims cover only

the invented subject matter. Id.

       Phillips does not preclude all uses of dictionaries in claim construction proceedings.

Instead, the court assigned dictionaries a role subordinate to the intrinsic record. In doing so, the

court emphasized that claim construction issues are not resolved by any magic formula. The court

did not impose any particular sequence of steps for a court to follow when it considers disputed

claim language. Id. at 1323–25. Rather, Phillips held that a court must attach the appropriate

weight to the intrinsic sources offered in support of a proposed claim construction, bearing in mind

the general rule that the claims measure the scope of the patent grant.



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       The Supreme Court of the United States has “read [35 U.S.C.] § 112, ¶ 2 to require that a

patent’s claims, viewed in light of the specification and prosecution history, inform those skilled

in the art about the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig

Instruments, Inc., 572 U.S. 898, 910, 134 S. Ct. 2120, 2129 (2014). “A determination of claim

indefiniteness is a legal conclusion that is drawn from the court’s performance of its duty as the

construer of patent claims.” Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1347 (Fed.

Cir. 2005) (citations and internal quotation marks omitted), abrogated on other grounds by

Nautilus, 572 U.S. 898. “Indefiniteness must be proven by clear and convincing evidence.” Sonix

Tech. Co. v. Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017).

                                    III. AGREED TERMS

       In their April 4, 2023 P.R. 4-3 Joint Claim Construction and Prehearing Statement, the

parties submitted the following agreed-upon constructions (Dkt. No. 84, at 1):

                      Term                                         Construction

 “the cable modem engine configured to enable Plain and ordinary meaning
 upgrades to its software in a manner that is
 independent of upgrades to the software of the
 data networking engine”
 (’775 Patent, Claim 18)

 “downstream PDU packets”                           Plain and ordinary meaning
 (’775 Patent, Claim 18)

 “parameters”                                       Plain and ordinary meaning
 (’690 Patent, Claims 1, 9)

 “associated with [the] generation          and Plain and ordinary meaning
 transmission of [a/the] probe”
 (’690 Patent, Claim 1)

 “wideband analog-to-digital converter (ADC) Plain and ordinary meaning
 module”


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 (’362 Patent, Claim 1)

                  IV. DISPUTED TERMS IN U.S. PATENT NO. 8,223,775

       The ’775 Patent, titled “Architecture for a Flexible and High-Performance Gateway Cable

Modem,” issued on July 17, 2012, and bears a filing date of September 30, 2003. The Abstract of

the ’775 Patent states:

       A cable modem system and architecture. A cable modem engine performs all cable
       modem functions, and a data networking engine performs all data and home
       networking functions. The cable modem engine is completely partitioned from the
       data networking engine. DOCSIS and VoIP functionality is implemented in the
       cable modem engine. The VoIP functionality may be in accordance with the
       Packet-Cable specification. The data networking functionality provided by the data
       networking engine may be in accordance with the CableHome specification.

1. “a data networking engine implemented in a first circuit that includes at least one
processor . . .” and “a cable modem engine implemented in a second circuit that includes at
least one processor . . .”

     “a data networking engine implemented in a first circuit that includes at least one
                                     processor . . .”
                                 (’775 Patent, Claim 18)

 Plaintiff’s Proposed Construction                   Defendant’s Proposed Construction

 Plain and ordinary meaning.                         Indefinite
 No construction necessary.

     “a cable modem engine implemented in a second circuit that includes at least one
                                    processor . . .”
                                (’775 Patent, Claim 18)

 Plaintiff’s Proposed Construction                   Defendant’s Proposed Construction

 Plain and ordinary meaning.                         Indefinite
 No construction necessary.

(Dkt. No. 84, at A-1; Dkt. No. 97, at 6; Dkt. No. 104, at 4; Dkt. No. 115, Ex. A, at 1.)




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        (a) The Parties’ Positions

        Plaintiff argues that “data networking” and “cable modem” were well-known phrases at

the time of the invention and that the generic word “engine,” as modified by the phrases “data

networking” and “cable modem,” would have been readily understood by a person of ordinary

skill in this art. (Dkt. No. 97, at 6–7.) Plaintiff also argues that Defendant’s indefiniteness

arguments should be rejected because “electrical engineers routinely design subcomponents of

consumer electronics, even if the components reside on the same chip,” and “[a] POSITA would

have no trouble determining where one circuit begins and another ends, because integrating

functional blocks on ‘a chip’ does not render them indistinguishable.” (Id., at 8.)

        Defendant responds that “[t]here is no disclosure of a DNE or CME implemented in any

circuit, much less two circuits which are ‘separate’ from one another.” (Dkt. No. 104, at 5.)

Defendant argues that Plaintiff cannot simply chose whatever meaning or “level” of the word

“circuit” suits its infringement contentions. (See id., at 6–8.)

        Plaintiff replies that the term “circuit” is readily understandable and that the specification

discloses separation of functions. (Dkt. No. 110, at 1.)

        At the June 13, 2023 hearing, Plaintiff argued that although the functionality of the first

circuit and the second circuit must be separate, this does not necessarily require physical

separation. Defendant responded that it is not arguing that the first circuit and the second circuit

must be on separate chips, but the problem, Defendant argued, is that this claim uses “circuit” in a

subjective way and, as a result, there is no way for a person of skill in the art to know if these

limitations are satisfied.

        (b) Analysis

        Claim 18 of the ’775 Patent recites (emphasis added):



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       18. A cable modem system comprising:
               a data networking engine implemented in a first circuit that includes at least
       one processor, the data networking engine programmed with software that when
       executed by the at least one processor of the first circuit causes the data networking
       engine to perform home networking functions including interfacing with customer
       provided equipment;
               a cable modem engine implemented in a second circuit that includes at least
       one processor, the second circuit being separate from the first circuit, the cable
       modem engine programmed with software that when executed by the at least one
       processor of the second circuit causes the cable modem engine to perform cable
       modem functions other than the home networking functions performed by the data
       networking engine, the cable modem functions including interfacing with cable
       media, and the cable modem engine configured to enable upgrades to its software
       in a manner that is independent of upgrades to the software of the data networking
       engine, the cable modem engine including a DOCSIS controller and a DOCSIS
       MAC processor, the DOCSIS MAC processor configured to process downstream
       PDU packets and forward the processed packets directly to the data networking
       engine without the involvement of the DOCSIS controller in order to boost
       downstream throughput; and
               a data bus that connects the data networking engine to the cable modem
       engine, wherein the cable modem functions performed by the cable modem engine
       are completely partitioned from the home networking functions performed by the
       data networking engine.

       The specification discloses “functional partitioning” and also contrasts the disclosed cable

modem system with “current stand-alone cable modem chips”:

       Functional Partitioning. Cable modem 100 completely partitions data networking
       functions . . . from DOCSIS cable modem functionality.

       ***

       A chip implementing cable modem system 100 will have only a small incremental
       hardware cost/functional increase over current stand-alone cable modem chips.

’775 Patent at 4:13–16 & 4:58–60; see id. at FIGS. 1 and 2 (illustrating data networking engine

(“DNE”) 120 and cable modem engine (“CME”) 110).

       Such disclosure regarding “functionality” is consistent with the technical dictionary cited

by Defendant’s expert, which defines “circuit” as:

       1. Any path that can carry electrical current. 2. A combination of electrical
       components interconnected to perform a particular task. At one level, a computer

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        consists of a single circuit; at another, it consists of hundreds of interconnected
        circuits.

(Dkt. No. 97, Ex. 8, Apr. 4, 2023 Almeroth Decl., App’x C, Microsoft Computer Dictionary 99

(5th ed. 2002).)

        The specification and this extrinsic evidence are thus consistent with Plaintiff’s

interpretation that the phrases “first circuit” and “second circuit” are not limited to specific

established structures but rather refer to interconnected electrical components that implement the

data networking engine functionality and the cable modem engine functionality. Cf. Linear Tech.

Corp. v. Impala Linear Corp., 379 F.3d 1311, 1320 (Fed. Cir. 2004) (“when the structure-

connoting term ‘circuit’ is coupled with a description of the circuit’s operation, sufficient structural

meaning generally will be conveyed to [POSITAs]”).

        Further, although the claim requires “the second circuit being separate from the first

circuit,” the “first circuit” and “second circuit” need not be physically separated, such as on

separate chips, for example. Cf. Linear Tech. Corp. v. Int’l Trade Comm’n, 566 F.3d 1049, 1055

(Fed. Cir. 2009) (“We agree with the Commission’s construction of ‘second circuit’ and ‘third

circuit,’ defining the terms broadly to not require entirely separate and distinct circuits.”). This is

true even if the disclosed cable modem system 100 is implemented as a “System-on-a-Chip”

(“SoC”) because even if the SoC is considered to be a single “circuit” (see Dkt. No. 97, at 8; see

also Dkt. No. 104, Ex. 2, May 4, 2023 Kramer dep. at 127:13–22 (“a System on a Chip can be

considered an integrated circuit”)), this circuit can itself be understood as being composed of

multiple circuits. The opinions of Defendant’s expert to the contrary are unpersuasive. (See Dkt.

No. 97, Ex. 8, Apr. 4, 2023 Almeroth Decl. at ¶¶ 64–68.)

        Thus, Defendant does not meet its burden to show any lack of reasonable certainty.

Nautilus, 572 U.S. at 910. The Dow and Teva cases cited by Defendant do not compel otherwise

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because, for example, the present case does not involve different potential methods of

measurement. See Dow Chemical Co. v. Nova Chemicals Corp. (Canada), 803 F.3d 620, 631, 634

(Fed. Cir. 2015) (finding indefiniteness as to “a slope of strain hardening coefficient greater than

or equal to 1.3”); see also Teva Pharmaceuticals USA, Inc. v. Sandoz, Inc., 789 F.3d 1335, 1338,

1344–45 (Fed. Cir. 2015) (finding indefiniteness as to “a molecular weight of about 5 to 9

kilodaltons”).

        The Court therefore hereby expressly rejects Defendant’s indefiniteness argument.

Defendant presents no alternative proposed constructions, and no further construction is necessary.

        The Court accordingly hereby construes “a data networking engine implemented in a

first circuit that includes at least one processor . . .” and “a cable modem engine implemented

in a second circuit that includes at least one processor . . .” to have their plain meaning.

2. “data bus”

                                             “data bus”
                                       (’775 Patent, Claim 18)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       Indefinite
 No construction necessary.

(Dkt. No. 84, at A-2; Dkt. No. 97, at 9; Dkt. No. 104, at 8; Dkt. No. 115, Ex. A, at 2.)

        (a) The Parties’ Positions

        Plaintiff argues that the meaning of “data bus” is well known to persons of ordinary skill

in the art. (Dkt. No. 97, at 9.)

        Defendant responds that, in light of the prosecution history, “the ‘data bus’ limitation is

irreconcilable with the ‘completely partitioned’ limitation, and claim 18 is therefore indefinite.”

(Dkt. No. 104, at 8 (citation omitted).)


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        Plaintiff replies that Defendant’s argument is untenable because “[p]rosecution history

disclaimers operate to narrow what would otherwise fall within a claim; they do not operate to

invalidate claims by eliminating elements textually present.” (Dkt. No. 110, at 2.)

        At the June 13, 2023 hearing, the parties argued this term together with the above-discussed

“. . . in a first circuit . . .” and “. . . in a second circuit . . .” terms.

        (b) Analysis

        Defendant does not dispute that “data bus” is a well-known term in the relevant art. (See

Dkt. No. 97, Ex. 10, The IEEE Standard Dictionary of Electrical and Electronics Terms 252

(defining “data bus” as “a bus used to communicate data to and from a processing unit or a storage

device”).)

        The parties’ dispute pertains not to the term “data bus” in isolation but rather to the

accompanying “wherein” clause, which the parties present as a distinct disputed term and which

is addressed separately below.

        The Court therefore hereby construes “data bus” to have its plain meaning.

3. “wherein the cable modem functions performed by the cable modem engine are
completely partitioned from the home networking functions performed by the data
networking engine”

       “wherein the cable modem functions performed by the cable modem engine are
     completely partitioned from the home networking functions performed by the data
                                     networking engine”
                                   (’775 Patent, Claim 18)

 Plaintiff’s Proposed Construction                         Defendant’s Proposed Construction

 Plain and ordinary meaning.                               The cable modem engine and the data
 No construction necessary.                                networking engine do not share any connecting
                                                           circuitry, data paths, or memory devices.

(Dkt. No. 84, at A-4; Dkt. No. 97, at 10; Dkt. No. 104, at 8; Dkt. No. 115, Ex. A, at 2–3.)



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        (a) The Parties’ Positions

        Plaintiff argues:

        The disputed claim language explicitly recites that the functions of the DNE [(data
        networking engine)] and CME [(cable modem engine)] are partitioned. This
        distinction is key because functions can be partitioned in hardware, software, or
        both. Functional partitioning is explicitly described in the specification as
        ‘localizing’ the cable modem and data networking functions in the separate engines:
                                               ***
        A POSITA would understand that connecting the DNE and CME (e.g., via a data
        bus) does not eliminate the compartmentalization of their respective functions.”

(Dkt. No. 97, at 10 (citations omitted).)

        Defendant responds as to this term together with the term “data bus,” which is addressed

above. (See Dkt. No. 104, at 8.) Plaintiff replies likewise. (See Dkt. No. 110, at 2–3.)

        At the June 13, 2023 hearing, the parties argued this term together with the above-discussed

“. . . in a first circuit . . .” and “. . . in a second circuit . . .” terms.

        (b) Analysis

        Claim 18 of the ’775 Patent recites (emphasis added):

        18. A cable modem system comprising:
               a data networking engine implemented in a first circuit that includes at least
        one processor, the data networking engine programmed with software that when
        executed by the at least one processor of the first circuit causes the data networking
        engine to perform home networking functions including interfacing with customer
        provided equipment;
               a cable modem engine implemented in a second circuit that includes at least
        one processor, the second circuit being separate from the first circuit, the cable
        modem engine programmed with software that when executed by the at least one
        processor of the second circuit causes the cable modem engine to perform cable
        modem functions other than the home networking functions performed by the data
        networking engine, the cable modem functions including interfacing with cable
        media, and the cable modem engine configured to enable upgrades to its software
        in a manner that is independent of upgrades to the software of the data networking
        engine, the cable modem engine including a DOCSIS controller and a DOCSIS
        MAC processor, the DOCSIS MAC processor configured to process downstream
        PDU packets and forward the processed packets directly to the data networking
        engine without the involvement of the DOCSIS controller in order to boost
        downstream throughput; and

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              a data bus that connects the data networking engine to the cable modem
       engine, wherein the cable modem functions performed by the cable modem engine
       are completely partitioned from the home networking functions performed by the
       data networking engine.

The specification discloses “localizing” the functions:

       Functional Partitioning. Cable modem 100 completely partitions data networking
       functions (advanced bridging/routing, NAT/firewall, VPN, web server and
       CableHome applications) from DOCSIS cable modem functionality. This is
       accomplished by localizing data networking functions in the data networking
       engine processor and localizing cable modem functions in the cable modem engine
       processor.

’775 Patent at 4:13–19 (emphasis added). Further, the claim itself recites that the cable modem

engine “forward[s] the processed packets directly to the data networking engine,” thus implying

that such communication is not inconsistent with the cable modem engine and the data networking

engine being “completely partitioned” from one another. See id. at Figs. 1 & 2 (illustrating data

path 118 between CME and DNE); see also id. at 3:15–17 (“DS PDU packets are forwarded by

[the DOCSIS MAC processor] directly to [DNE] 120 along path 118, bypassing controller 116”).

       The prosecution history cited by Defendant does not compel otherwise. The patentee

distinguished the “Brooks” reference (United States Patent Application Publication No.

2001/0039600) as follows:

       [T]he Office Action make the conclusion statement [sic] that “the data networking
       engine and cable modem engines are represented in Figures 1 and 2 of the [Brooks]
       reference” . . . . However, Applicant is uncertain how any reasonable interpretation
       of these Figures can provide correspondence. For example, Figure 2 of [Brooks]
       discloses only two processors, each of which, therefore, must correspond to the
       claimed data-networking and cable-modem engines. However, the discussion of
       Figure 2 makes clear that the cable modem functions are performed by CMAC unit
       224 . . . . Therefore, in order for the cable modem engine to contain a processor
       and perform the CMAC functions as claimed, the cited cable modem engine must
       include circuitry to connect the processors with the CMAC unit. Because available
       connecting circuitry would be shared with the other processor, Applicant is
       uncertain how the asserted cable modem engine and home networking engine can
       be completely partitioned as claimed.



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(Dkt. No. 97, Ex. 8, Apr. 4, 2023 Almeroth Decl., App’x G, Apr. 5, 2010 Response to Final Office

Action, at 6 (ENTROPIC_CHARTER_0000108) (p. 236 of 290 of Ex. 8) (emphasis added).)

       After an advisory action by the examiner, the patentee explained further, distinguishing

Brooks as using processors that were not functionally separate:

       The Examiner’s apparent designation of the first processor 102 in Brooks ’600 as
       the “data networking engine,” and the second processor 104 and the CMAC/CPHY
       block (114, 118, 224 and 228) as the “cable modem engine,” further does not square
       with the claim 1 feature that “the cable modem functions performed by the cable
       modem engine are completely partitioned from the home networking functions
       performed by the data networking engine,” and the claim 15 feature of “partitioning
       the data networking engine from the cable modem engine so that the data and home
       networking functionality is completely decoupled from the DOCSIS and VOOP
       functionality.” This is because the CMAC/CPHY block (114, 118, 224 and 228)
       communicates with both the processors 102 and 104 by sharing the same data paths
       and sharing the same direct memory access controller. (See peripheral bus 112 –
       bridge 110 – system bus 108 in Fig. 1 and APB 214 – OMA Controller/ASB-APB
       Bridge 212 – ASB 210 in Fig. 2, and paragraphs 0034 and 0035).

       Further, accepting the Examiner’s assertion that first processor 102 handles data
       networking functionality, and considering the description of paragraphs 0025 and
       0026 that processor 102 is programmed to implement the desired MAC
       functionality (which would include typical DOCSIS MAC functionality), leads to a
       conclusion that the Brooks ’600 processor 102 does not implement a complete
       partitioning or a completely decoupled arrangement of the data networking engine
       from the cable modem engine.

       Thus, Brooks ’600 does not provide the complete partitioning or completely
       decoupled arrangement of the data networking engine from the cable modem
       engine that the Examiner apparently asserts it does.

(Id., June 7, 2010 Response to Final Office Action, at 9 (ENTROPIC_CHARTER_0000134)

(p. 254 of 290 of Ex. 8) (emphasis added); see id., at 7–9 (ENTROPIC_CHARTER_0000132–34)

(pp. 252–54 of 290 of Ex. 8).)

       The patentee thus distinguished Brooks as lacking functional separation because what the

examiner identified as the cable modem engine in Brooks required interaction with the “CMAC

unit,” and, the patentee argued, such interaction involved circuitry that was shared with what the



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examiner identified as the data networking engine in Brooks. (See id.) Thus, no relevant

disclaimer is apparent, and in particular the patentee did not disclaim having a data bus that

connects the data networking engine to the cable modem engine, as recited in above-reproduced

Claim 1 of the ’775 Patent. See Omega Eng’g Inc. v. Raytek Corp., 334 F.3d 1314, 1324 (Fed.

Cir. 2003) (“prosecution disclaimer promotes the public notice function of the intrinsic evidence

and protects the public’s reliance on definitive statements made during prosecution”) (emphasis

added); see also id. at 1325–26 (“for prosecution disclaimer to attach, our precedent requires that

the alleged disavowing actions or statements made during prosecution be both clear and

unmistakable”) (emphasis added).

       The Court therefore hereby expressly rejects Defendant’s proposal that the cable modem

engine and the data networking engine cannot share any connecting circuitry, data paths, or

memory devices.

       The Court accordingly hereby construes “wherein the cable modem functions

performed by the cable modem engine are completely partitioned from the home networking

functions performed by the data networking engine” to mean “wherein the cable modem

engine and the data networking engine are not necessarily physically separate but are

functionally separate such that the cable modem functions are performed only by the cable

modem engine and the home networking functions are performed only by the data

networking engine.”




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4. “DOCSIS functions”

                                            “DOCSIS functions”
                                           (’775 Patent, Claim 19)

 Plaintiff’s Proposed Construction                         Defendant’s Proposed Construction

 Plain and ordinary meaning.                               This limitation does not change the scope of
 No construction necessary.                                claim 18.


(Dkt. No. 84, at A-5; Dkt. No. 97, at 11; Dkt. No. 104, at 8; Dkt. No. 115, Ex. A, at 3.)

        (a) The Parties’ Positions

        Plaintiff argues that Defendant’s proposal is contrary to the doctrine of claim

differentiation. (Dkt. No. 97, at 12.)

        Defendant responds:

        According to claim 19, all DOCSIS functions are localized in the CME. However,
        as explained . . . above, the specification explains that the sine qua non of a CME
        is that it ‘performs all cable modem functions’ including ‘the entire DOCSIS cable
        modem functionality.’ Accordingly, claim 19 is redundant and does not further
        limit the scope of claim 18. Otherwise, the term ‘cable modem engine’ is indefinite.

(Dkt. No. 104, at 9.)

        Plaintiff replies that there is no redundancy because “Claim 18 recites the broader ‘cable

modem functions,’ which does not necessarily have the same scope as ‘all DOCSIS functions,’

referring to the DOCSIS standard.” (Dkt. No. 110, at 3.)

        At the June 13, 2023 hearing, the parties argued this term together with the above-discussed

“. . . in a first circuit . . .” and “. . . in a second circuit . . .” terms.

        (b) Analysis

        Claim 19 of the ’775 Patent depends from Claim 18 and recites:

        19. A cable modem system as claimed in claim 18, wherein all DOCSIS functions
        are localized in the cable modem engine.


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Plaintiff applies the doctrine of claim differentiation, arguing:

       Claim 18 states that the CME comprises a processor, programmed with software,
       that when executed causes the CME to perform “cable modem functions other than
       the home networking functions performed by the [DNE].” Dependent claim 19
       increases the burden on the CME—“all DOCSIS functions are localized in the
       [CME].” Logically, claim 18 does not require that each and every DOCSIS
       function be executed by the circuitry of the CME, while claim 19 does.

(Dkt. No. 97, at 12.)

       As a general matter, “[c]laim differentiation is ‘not a hard and fast rule,’ but rather a

presumption that will be overcome when the specification or prosecution history dictates a contrary

construction.” GPNE Corp. v. Apple Inc., 830 F.3d 1365, 1371 (Fed. Cir. 2016).

       Defendant argues that this limitation set forth in Claim 19 is redundant (and thus does not

imply the absence of such a limitation in Claim 18) because Claim 18, read in light of the

specification, already requires this limitation. (See Dkt. No. 104, at 9.) Defendant argues that

“cable modem engine” “is a phrase coined by the inventors” and “[i]f it does not refer to the

components of a cable modem that perform all the cable modem functions, then there is no way to

know what it is.” (Id., at 9.)

       Defendant cites disclosure in the Abstract that the CME “performs all cable modem

functions” and “implements the entire DOCSIS cable modem functionality.” ’775 Patent at

Abstract & 2:55–56. The Abstract, however, is not limiting, and the portion of the written

description cited by Defendant does not purport to limit the entire claimed invention but rather

describes a particular embodiment of “cable modem engine 110.” See Phillips, 415 F.3d at 1323.

Further, there is a “presumption that each claim in a patent has a different scope.” Comark

Comm’cns, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998). The contrary opinion of

Defendant’s expert is unpersuasive. (See Dkt. No. 97, Ex. 8, Apr. 4, 2023 Almeroth Decl. at ¶ 36

(citing ’775 Patent at 2:15–17 (“In one implementation, the VoIP functionality provided by the

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cable modem is in accordance with the PacketCable specification and the data networking

functionality provided by the data networking engine is in accordance with the CableHome

specification.”), 2:23–24 (“Data and home networking functionality is provided by a data

networking engine, and DOCSIS and VoIP functionality is provided by a cable modem engine.”)

& 4:19–21).)

         The Court therefore hereby expressly rejects Defendant’s attempted reliance on Claim 19

to arrive at a narrow interpretation of “cable modem engine” in Claim 18, and no further

construction is necessary as to Claim 19. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554,

1568 (Fed. Cir. 1997) (“Claim construction is a matter of resolution of disputed meanings and

technical scope, to clarify and when necessary to explain what the patentee covered by the claims,

for use in the determination of infringement. It is not an obligatory exercise in redundancy.”); see

also O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008)

(“[D]istrict courts are not (and should not be) required to construe every limitation present in a

patent’s asserted claims.”); Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1207 (Fed.

Cir. 2010) (“Unlike O2 Micro, where the court failed to resolve the parties’ quarrel, the district

court rejected Defendants’ construction.”); ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc.,

694 F.3d 1312, 1326 (Fed. Cir. 2012); Summit 6, LLC v. Samsung Elecs. Co., Ltd., 802 F.3d 1283,

1291 (Fed. Cir. 2015); Bayer Healthcare LLC v. Baxalta Inc., 989 F.3d 964, 977–79 (Fed. Cir.

2021).

         The Court accordingly hereby construes “DOCSIS functions” to have its plain meaning.




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5. “DOCSIS MAC processor” and “DOCSIS controller”

                                    “DOCSIS MAC processor”
                                      (’775 Patent, Claim 18)

 Plaintiff’s Proposed Construction                Defendant’s Proposed Construction

 Plain and ordinary meaning.                      The DOCSIS MAC processor as described in
 No construction necessary.                       the patent specification (see, e.g., ’775 Patent
                                                  at 3:1–20; 4:41–57; id. at FIGs. 1 & 2).
                                                  Otherwise indefinite.

                                      “DOCSIS controller”
                                      (’775 Patent, Claim 18)

 Plaintiff’s Proposed Construction                Defendant’s Proposed Construction

 Plain and ordinary meaning.                      The DOCSIS controller as described in the
 No construction necessary.                       patent specification (see, e.g., ’775 Patent at
                                                  3:21–48; 4:41–57; id. at FIGs. 1 & 2).
                                                  Otherwise indefinite.

(Dkt. No. 84, at A-6; Dkt. No. 97, at 12; Dkt. No. 115, Ex. A, at 1–2.)

       (a) The Parties’ Positions

       Plaintiff urges that Defendant’s proposals would improperly limit these terms to specific

exemplary embodiments described in the specification. (Dkt. No. 97, at 12.) Plaintiff also argues

that Defendants have already agreed that these are not means-plus-function terms governed by 35

U.S.C. § 112, ¶ 6. (Id.) Further, Plaintiff submits that “[t]he Federal Circuit and this Court have

held that the terms ‘processor’ and ‘controller’ denote known classes of structures—generally

understood to POSITAs.” (Id. (citations omitted).)

       Defendant responds that “[n]either the phrase ‘DOCSIS MAC processor’ nor ‘DOCSIS

controller’ has a plain meaning.” (Dkt. No. 104, at 9.) Defendant also argues that Plaintiff’s

proposed construction would either contradict the specification or “make it impossible to

distinguish a DOCSIS MAC processor from a DOCSIS controller.” (Id., at 9–10.) Defendant


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urges that “[t]he only construction of DOCSIS MAC processor and DOCSIS controller that both

comports with the specification and provides a basis for distinguishing between the two is a

construction whereby each refers to the corresponding device described in the specification.” (Id.,

at 11.)

          Plaintiff replies that “the claims themselves describe the functions of the DOCSIS MAC

processor and DOCSIS controller,” and “Charter has made no argument that the DOCSIS MAC

processor and DOCSIS controller should be limited to the specific ARM-based embodiments

disclosed in the specification.” (Dkt. No. 110, at 3–4.)

          At the June 13, 2023 hearing, Defendant submitted that the DOCSIS controller disclosed

in the specification performs some MAC functions. Defendant argued that this makes it impossible

to distinguish between a “DOCSIS MAC processor” and a “DOCSIS controller,” which, in turn,

Defendant argued makes it impossible to determine whether an accused instrumentality meets the

limitation of “forward[ing] the processed packets directly to the data networking engine without

the involvement of the DOCSIS controller.”

          (b) Analysis

          Claim 18 of the ’775 Patent recites (emphasis added):

          18. A cable modem system comprising:
                 a data networking engine implemented in a first circuit that includes at least
          one processor, the data networking engine programmed with software that when
          executed by the at least one processor of the first circuit causes the data networking
          engine to perform home networking functions including interfacing with customer
          provided equipment;
                 a cable modem engine implemented in a second circuit that includes at least
          one processor, the second circuit being separate from the first circuit, the cable
          modem engine programmed with software that when executed by the at least one
          processor of the second circuit causes the cable modem engine to perform cable
          modem functions other than the home networking functions performed by the data
          networking engine, the cable modem functions including interfacing with cable
          media, and the cable modem engine configured to enable upgrades to its software
          in a manner that is independent of upgrades to the software of the data networking

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       engine, the cable modem engine including a DOCSIS controller and a DOCSIS
       MAC processor, the DOCSIS MAC processor configured to process downstream
       PDU packets and forward the processed packets directly to the data networking
       engine without the involvement of the DOCSIS controller in order to boost
       downstream throughput; and
               a data bus that connects the data networking engine to the cable modem
       engine, wherein the cable modem functions performed by the cable modem engine
       are completely partitioned from the home networking functions performed by the
       data networking engine.

       The words “processor” and “controller” refer to known classes of structures in the relevant

art, and the parties agree that “DOCSIS” (Data Over Cable Service Interface Specification) and

DOCSIS “MAC” (Medium Access Control) have been well-known at all relevant times. (See,

e.g., Dkt. No. 97, Ex. 7, Apr. 14, 2023 Kramer Decl. at ¶ 84.)

       Defendant proposes to limit these terms to the particular DOCSIS controller and DOCSIS

MAC processor disclosed in the specification, but Defendant does not show any definition or

disclaimer that would warrant a narrowing of these terms. See Thorner v. Sony Computer Ent.

Am. LLC, 669 F.3d 1362, 1367 (Fed. Cir. 2012) (“The patentee is free to choose a broad term and

expect to obtain the full scope of its plain and ordinary meaning unless the patentee explicitly

redefines the term or disavows its full scope.”).

       Moreover, other claims of the patent-in-suit can be considered. See Phillips, 415 F.3d

at 1314. Claim 1 recites a “DOCSIS MAC processor” and a “DOCSIS controller,” and Claim 12

depends from Claim 1 and recites that “the DOCSIS MAC processor is an ARM9TDMI-based

RISC processor, and wherein the DOCSIS controller is an ARM940-based RISC processor.”

Because claim terms should be interpreted consistently throughout all of the claims of a particular

patent, id., the doctrine of claim differentiation weighs against limiting the “DOCSIS MAC

processor” and a “DOCSIS controller” to ARM9TDMI, ARM940, or any other particular specific

implementation.



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       The disclosure in the specification regarding “functional blocks” is also consistent with

interpreting these terms broadly rather than limiting them to particular types of processors. See

’775 Patent at 2:55–3:38; see also Dkt. No. 97, Ex. 7, Apr. 14, 2023 Kramer Decl. at ¶¶ 92–93.

       Further, Defendant cites disclosure in which the DOCSIS controller is involved with MAC

functions (see ’775 Patent at 3:27–48), but although the claim requires a “DOCSIS MAC processor

configured to . . . forward the processed packets directly to the data networking engine without the

involvement of the DOCSIS controller,” the absence of involvement of the DOCSIS controller in

this particular operation does not preclude the DOCSIS controller from being involved with other

MAC functions.

       Finally, Defendant cites the opinions of its expert that a person of ordinary skill in the art

would be unable to distinguish between a “DOCSIS MAC processor” and a “DOCSIS controller,”

but these opinions are unpersuasive, particularly given that DOCSIS is a well-established standard

and that MAC is also a well-known term in the relevant art. (See Dkt. No. 97, Ex. 8, Apr. 4, 2023

Almeroth Decl. at ¶¶ 76–77.) Any remaining question regarding distinguishing between a

“DOCSIS MAC processor” and a “DOCSIS controller” pertains to factual questions of

infringement rather than any legal question for claim construction. See PPG Indus. v. Guardian

Indus. Corp., 156 F.3d 1351, 1355 (Fed. Cir. 1998) (“after the court has defined the claim with

whatever specificity and precision is warranted by the language of the claim and the evidence

bearing on the proper construction, the task of determining whether the construed claim reads on

the accused product is for the finder of fact”); see also Acumed LLC v. Stryker Corp., 483 F.3d

800, 806 (Fed. Cir. 2007) (“[t]he resolution of some line-drawing problems . . . is properly left to

the trier of fact”) (citing PPG, 156 F.3d at 1355); Eon Corp. IP Holdings LLC v. Silver Spring




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Networks, Inc., 815 F.3d 1314, 1318–19 (Fed. Cir. 2016) (citing PPG, 156 F.3d at 1355; citing

Acumed, 483 F.3d at 806).

         The Court therefore hereby expressly rejects Defendant’s proposed constructions, and no

further construction is necessary. See U.S. Surgical, 103 F.3d at 1568; see also O2 Micro, 521

F.3d at 1362; Finjan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d at 1291;

Bayer, 989 F.3d at 977–79.

         The Court accordingly hereby construes “DOCSIS MAC processor” and “DOCSIS

controller” to have their plain meaning.

                    V. DISPUTED TERMS IN U.S. PATENT NO. 9,825,826

         The ’826 Patent is a continuation of the ’008 Patent.

         Plaintiff submits: “The ’826 and the ’008 Patents disclose methods and apparatuses that

can be implemented in Customer Premises Equipment (CPE) that enable the CPE to: receive a

cable or satellite television signal, digitize said signal, determine a characteristic of the digitized

signal, and then report the determined characteristic back to the source of the signal (i.e., the

network-based service providers) without interrupting normal customer service.” (Dkt. No. 97

at 3.)

         The ’008 Patent, titled “Method and Apparatus for Spectrum Monitoring,” issued on

July 29, 2014, and bears an earliest priority date of September 8, 2011. The Abstract of the ’008

Patent states:

         A system, such as a satellite reception assembly or customer premises gateway,
         may comprise an analog-to-digital converter operable to digitize a signal spanning
         an entire television spectrum (e.g., cable television spectrum or satellite television
         spectrum) comprising a plurality of television channels. The system may comprise
         a signal monitor operable to analyze a signal to determine a characteristic of the
         signal. The system may comprise a data processor operable to process a television
         channel to recover content carried on the television channel. The system may
         comprise a channelizer operable to select first and second portions of the signal,


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       and concurrently output the first portion to the signal monitor and the second
       portion to the data processor.

6. “network management messages”

                                “network management messages”
                                     (’826 Patent, Claim 1)

 Plaintiff’s Proposed Construction                  Defendant’s Proposed Construction

 Plain and ordinary meaning.                        Messages which report on the status of the
 No construction necessary.                         network based on an analysis of the measured
                                                    characteristics.

(Dkt. No. 84, at A-8; Dkt. No. 97, at 15; Dkt. No. 104, at 12; Dkt. No. 115, Ex. A, at 5.)

       (a) The Parties’ Positions

       Plaintiff argues that “[t]he Court should construe this term according to its plain and

ordinary meaning because ‘network management message’ is a plain English phrase that means

exactly what it says,” and “[t]he ’826 Patent’s specification confirms the phrase is meant to convey

all its ordinary possibilities, in disclosing a list of exemplary types/uses of the messages.” (Dkt.

No. 97, at 15 (citations omitted).)

       Defendant responds that Plaintiff attempts to encompass implementations in which the

set‑top box returns only a measured characteristic and nothing else to the headend, which

Defendant argues is inconsistent with the claim requirement that “said measured characteristic is

different than said network management messages.” (Dkt. No. 104, at 12 (emphasis modified).)

       Plaintiff replies that Defendant improperly relies on claim language in the parent ’008

Patent in an attempt to limit Claim 1 of the continuation ’826 Patent. (Dkt. No. 110, at 4.) Plaintiff

also argues that Defendant’s argument pertains to a question of fact, not claim construction. (Id.)

       At the June 13, 2023 hearing, Defendant submitted that although Defendant is not arguing

that the message cannot include the measured characteristic, the message must include something


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that is not the measured characteristic. As for Plaintiff’s interpretation that a message conveying

just the measured characteristic is “different” than the measured characteristic itself, Defendant

argued that this would vitiate the claim requirement that “said measured characteristic is different

than said network management messages.”

       (b) Analysis

       Claim 1 of the ’826 Patent recites (emphasis added):

       1. A method comprising:
               performing by one or more circuits of a receiver coupled to a television and
       data service provider headend via a hybrid fiber coaxial (HFC) network:
                   receiving, via said HFC network, a signal that carries a plurality of
                       channels, wherein said channels comprise one or both of
                       television channels and data channels;
                   digitizing said received signal to generate a digitized signal;
                   selecting a first portion of said digitized signal;
                   selecting a second portion of said digitized signal;
                   processing said selected second portion of said digitized signal to
                       recover information carried in said plurality of channels;
                   analyzing said selected first portion of said digitized signal to
                       measure a characteristic of said received signal; and
                   controlling the transmission of network management messages back
                       to said headend based on said measured characteristic of said
                       received signal, wherein said measured characteristic is different
                       than said network management messages.

       On one hand, the specification discloses that messages sent to the headend can include

measured characteristics:

       The CMTS 114 may process the messages and, in an example embodiment, adjust
       transmission parameters (e.g., modulation parameters, transmit power, frequency
       offsets, etc.) and/or perform other maintenance/management based on the received
       messages.

       ***

       Such message may comprise, for example, network status updates indicating
       whether one or more communication parameters of one or more received television
       or DOCSIS channels are outside acceptable bounds, and/or conveying
       measured/determined characteristics back to a source of the received signal (e.g.,
       back to a cable headend).

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’826 Patent at 3:11–15 & 3:63–4:2 (emphasis added).

       On the other hand, the claim here at issue, Claim 1 of the ’826 Patent, recites that “said

measured characteristic is different than said network management messages.” Thus, simply

sending the measured characteristic to the headend is insufficient to meet this claim limitation.

Also of note, this contrasts with the recital in Claim 1 of the related ’008 Patent of “report[ing]

said determined characteristic to a source of said received signal.”

       Nonetheless, Defendant’s proposal of an “analysis of the measured characteristics” lacks

sufficient support in the specification. Defendant cites disclosures regarding “analyz[ing]” and

whether one or more channels are “outside acceptable bounds”:

       The monitoring module 154 may be operable to analyze the band CJ+1 that it
       receives from the channelizer 102 to measure/determine characteristics such as,
       for example, signal power level vs. frequency, delay vs. frequency, phase shift vs.
       frequency, type and/or amount of modulation, code rate, interference levels, signal
       to noise ratio, a transfer function of the channel of [sic] over which the signal was
       received, an impulse response of the channel over which the signal was received,
       and/or any other characteristic that may help assess characteristics of the channel
       over which the signal was received, assess characteristics of the transmitter that
       sent the signal and/or any otherwise be pertinent to performance of the
       communication system. . . . Additionally or alternatively, the control signal(s) 160
       output by the monitoring module 154 may control the transmission of network
       management/maintenance messages by the device 150. Such message may
       comprise, for example, network status updates indicating whether one or more
       communication parameters of one or more received television or DOCSIS channels
       are outside acceptable bounds, and/or conveying measured/determined
       characteristics back to a source of the received signal (e.g., back to a cable
       headend)[.]

Id. at 3:45–4:2 (emphasis added).

       This disclosure regarding “acceptable bounds” relates to a specific feature of a particular

embodiment and does not warrant introducing a “status” or “analysis” limitation into the

construction of “network management messages.” See Phillips, 415 F.3d at 1323. Further, this

disclosure that “[t]he monitoring module 154 may be operable to analyze the band CJ+1 that it

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receives from the channelizer 102 to measure/determine characteristics” likewise pertains to a

particular embodiment and, moreover, this usage of “analyze” merely reflects what is already

recited elsewhere in the claim, namely “analyzing said selected first portion of said digitized signal

to measure a characteristic of said received signal.” Defendant’s proposal of construing “network

management messages” in terms of an “analysis” would tend to confuse rather than clarify the

scope of the claim.

       Nonetheless, although the claim already recites “transmission of network management

messages back to said headend based on said measured characteristic of said received signal,”

Defendant’s proposal of “based on” will assist the finder of fact in understanding that merely

sending the measured characteristic is insufficient. See 01 Communique Laboratory, Inc. v

LogMeIn, Inc., 687 F.3d 1292, 1296 (Fed. Cir. 2012) (“01 Communique has not cited, and we have

not discovered, any authority for the proposition that construction of a particular claim term may

not incorporate claim language circumscribing the meaning of the term.”).

       Finally, Defendant discusses Plaintiff’s infringement contentions (see Dkt. No. 104, at 12–

13), but any remaining dispute pertains to factual questions regarding infringement rather than any

legal question for claim construction. See PPG, 156 F.3d at 1355; see also Acumed, 483 F.3d at

806 (citing PPG, 156 F.3d at 1355); Eon, 815 F.3d at 1318–19 (citing PPG, 156 F.3d at 1355;

citing Acumed, 483 F.3d at 806).

       The Court therefore hereby construes “network management messages” to mean

“messages which report on the network based on the measured characteristics.”




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                   VI. DISPUTED TERMS IN U.S. PATENT NO. 8,792,008

7. “operable to”

                                          “operable to”
                                      (’008 Patent, Claim 1)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       Configured to
 No construction necessary.


(Dkt. No. 84, at A-8; Dkt. No. 97, at 16; Dkt. No. 104, at 13.)

       In their Amended Patent Rule 4-5(d) Joint Claim Construction Chart, the parties agree that

“operable to” should be construed to mean “configured to.” (Dkt. No. 115, Ex. A, at 3.)

       The Court therefore hereby construes “operable to” to mean “configured to.”

8. “digitize a received signal spanning an entire television spectrum comprising a plurality
of television channels”

  “digitize a received signal spanning an entire television spectrum comprising a plurality
                                    of television channels”
                                     (’008 Patent, Claim 1)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       The “received signal” contains only television
 No construction necessary.                        channels.


(Dkt. No. 84, at A-9; Dkt. No. 97, at 16; Dkt. No. 104, at 13; Dkt. No. 115, Ex. A, at 3–4.)

       (a) The Parties’ Positions

       Plaintiff argues that “[t]he plain language of the claim recites ‘comprising a plurality of

television channels,’ indicating that the ‘received signal spanning an entire television spectrum’ is

not limited to only television channels.” (Dkt. No. 97, at 16.) Plaintiff also argues that the

specification confirms this understanding. (See id., at 17.)


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          Defendant responds that “‘[s]pan’ is a plain English word which means the full extent of

something from end to end (e.g., ‘wing span,’ ‘life span,’ ‘span of a bridge’).” (Dkt. No. 104,

at 14.)

          Plaintiff replies that “a television spectrum may contain inside it something in addition to

individual television channels,” and “[i]t does not cease being a television spectrum if non-video

signals are added within the block.” (Dkt. No. 110, at 4–5.)

          At the June 13, 2023 hearing, Defendant alternatively proposed: “The ‘received signal’

contains only television channels and data channels which fall between television channels.”

          (b) Analysis

          Claim 1 of the ’008 Patent recites (emphasis added):

          1. A system comprising:
                  an analog-to-digital converter operable to digitize a received signal
          spanning an entire television spectrum comprising a plurality of television
          channels, said digitization resulting in a digitized signal;
                  a signal monitor operable to:
                      analyze said digitized signal to determine a characteristic of said
                          digitized signal; and
                      report said determined characteristic to a source of said received
                          signal;
                  a data processor operable to process a television channel to recover content
          carried on the television channel; and
                  a channelizer operable to:
                      select a first portion of said digitized signal;
                      select a second portion of said digitized signal; and
                      concurrently output said first portion of said digitized signal to said
                          signal monitor and said second portion of said digitized signal
                          to said data processor.

          As a general matter, “[t]he transitional term ‘comprising’ . . . is open-ended and does not

exclude additional, unrecited elements or method steps.” See Gillette Co. v. Energizer Holdings,

Inc., 405 F.3d 1367, 1371 (Fed. Cir. 2005).




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         Defendant submits authority that “[t]he usage ‘comprising’ means that additional

components may be present in the device, but does not change the elements that are stated in the

claim.” Outside the Box Innovations, LLC v. Travel Caddy, Inc., 695 F.3d 1285, 1305 (Fed. Cir.

2012).

         But although the claim language refers to “television spectrum” and refers to the television

spectrum comprising television channels, this does not preclude non-television channels from

being present within that spectrum. In other words, Defendant has not shown that this usage of

“comprising” is somehow closed-ended. Also, Defendant’s reliance at the June 13, 2023 hearing

on a general-purpose dictionary definition of “spanning” as referring to the “extent” of something

“between any two limits,” even if found relevant, is unpersuasive. Collins English Dictionary

(30th ed.).

         This finding is consistent with disclosures in the specification that the received signal may

include data from an IP network or may include DOCSIS channels:

         For downstream traffic, the headend 108 may receive television signals via the
         antenna 102 and the satellite dish 104, and may receive data via the IP network 106.
         The switch 110 may convey the television signals to the video modulator 112 and
         the data to the CMTS 114. The video modulator 112 may modulate the received
         television signals onto a carrier. The CMTS 114 may modulate the received data
         onto carrier. The splitter/combiner 116 may combine the outputs of the video
         modulator 112 and the CMTS 114 resulting in a frequency division multiplexed
         (FDM) signal comprising one or more television channels and/or one or more
         DOCSIS channels.

         ***

         The RF receive front-end 158 may be operable to process a received RF signal S to
         generate a digital signal D. The signal S may be the result of a plurality of television
         and/or DOCSIS channels being frequency division multiplexed into a single signal.
         The signal S may occupy a frequency band from Flo to Fhi.

’008 Patent at 2:44–54 & 3:12–16 (emphasis added); see id. at 4:45–47 (“The data processing

module 156 may process one or more of bands C1–CJ to recover data on one or more channels

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(e.g., television and/or DOCSIS channels) . . . .”) & 5:60–62 (“Accordingly, for cable

television/DOCSIS, the ADC 256 may be operable to digitize the entire cable downstream (e.g.,

from ~55 MHz to ~1002 MHz).”).

       Further, Defendant points to the express recital in Claim 1 of the ’826 Patent that the

received signal comprises “one or both of television and data channels,” but this recital in a

different independent claim in a different (albeit related) patent does not imply or otherwise justify

a narrow interpretation of the disputed term in Claim 1 of the ’008 Patent. Further, as Plaintiff

argued at the June 13, 2023 hearing, whereas Claim 1 of the ’826 Patent allows for there being

only data channels, Claim 1 of the ’008 Patent requires television channels.

       Finally, at the June 13, 2023 hearing, Defendant proposed that “[t]he ‘received signal’

contains only television channels and data channels which fall between television channels.”

Defendant thus proposes that a data channel cannot overlap (or be subsumed within) a television

channel. As discussed above, Defendant does not demonstrate that the disputed term precludes

the presence of data channels within the same spectrum as television channels. The Court therefore

rejects Defendant’s alternative proposal.

       The Court thus hereby expressly rejects Defendant’s proposed constructions. No further

construction is necessary. See U.S. Surgical, 103 F.3d at 1568; see also O2 Micro, 521 F.3d at

1362; Finjan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d at 1291; Bayer,

989 F.3d at 977–79.

       The Court accordingly hereby construes “digitize a received signal spanning an entire

television spectrum comprising a plurality of television channels” to have its plain meaning.




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9. “signal monitor,” “data processor,” and “channelizer”


                                        “signal monitor”
                                        “data processor”
                                          “channelizer”
                                      (’008 Patent, Claim 1)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       Three separate pieces of hardware, configured
 No construction necessary.                        to perform the functions the claim ascribes to
                                                   the signal monitor, data processor, and
                                                   channelizer, respectively.

(Dkt. No. 84, at A-9; Dkt. No. 97, at 17; Dkt. No. 104, at 14; Dkt. No. 115, Ex. A, at 4.)

       (a) The Parties’ Positions

       Plaintiff argues that Defendant’s proposal should be rejected because “[n]o phrase [in the

claim] even arguably related to separateness is present,” and “the specification is clear that these

three items do not have to be implemented on separate pieces of hardware.” (Dkt. No. 97, at 17.)

       Defendant responds:

       Entropic contends that there need not be any ‘separateness’ between the three, and
       that they can all refer to the same physical device. Entropic provides no support
       for its contention that this is the ‘plain and ordinary meaning’ of these terms, or any
       facts to overcome the presumption that each of these must be a distinct physical
       component. . . . Nor could Entropic possibly overcome this presumption, as neither
       the claims nor the specification make any sense unless each of the three is a separate
       device.

(Dkt. No. 104, at 14–15 (citation omitted).)

       Plaintiff replies that Defendant is attempting to argue a question of fact regarding what is

separate, as part of claim construction, which Plaintiff submits is improper. (Dkt. No. 110, at 5.)

Plaintiff also submits that “[b]y the priority date (2011), it was exceedingly common for a single




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SoC [(System on a Chip)] to embody many functional elements, as a POSITA would have been

well aware.” (Id. (footnote omitted).)

        At the June 13, 2023 hearing, Defendant argued that these terms refer to three structures

that might even be on a single chip but that nonetheless must be physically separate pieces of

hardware.

        (b) Analysis

        Claim 1 of the ’008 Patent recites (emphasis added):

        1. A system comprising:
                an analog-to-digital converter operable to digitize a received signal
        spanning an entire television spectrum comprising a plurality of television
        channels, said digitization resulting in a digitized signal;
                a signal monitor operable to:
                    analyze said digitized signal to determine a characteristic of said
                        digitized signal; and
                    report said determined characteristic to a source of said received
                        signal;
                a data processor operable to process a television channel to recover content
        carried on the television channel; and
                a channelizer operable to:
                    select a first portion of said digitized signal;
                    select a second portion of said digitized signal; and
                    concurrently output said first portion of said digitized signal to said
                        signal monitor and said second portion of said digitized signal
                        to said data processor.

        As a general matter, “[w]here a claim lists elements separately, ‘the clear implication of

the claim language’ is that those elements are ‘distinct component[s]’ of the patented invention.”

Becton, Dickinson & Co. v. Tyco Healthcare Grp., LP, 616 F.3d 1249, 1254 (Fed. Cir. 2010); see

Kyocera Senco Indus. Tools Inc. v. Int’l Trade Comm’n, 22 F.4th 1369, 1382 (Fed. Cir. 2022)

(listing components separately in a claim gives rise to “a presumption that those components are

distinct”).




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       Defendant does not show, however, that a requirement for “distinct” components, id.,

necessarily requires separate pieces of hardware. Also, the specification discloses that “[t]he

various modules of the subassembly 174,” including “the signal monitor 154, data processor 156,

and channelizer 152,” “may reside in . . . one or more integrated circuits.” See id. at 4:56–59 &

Fig. 1C. Defendant argues that “[w]hat this sentence means is that each individual module can be

one or more integrated circuits, not that all of the different modules can be one device” (Dkt. No.

104, at 16), but here, too, the patentee did not express or imply any physical separation.

       Finally, at the June 13, 2023 hearing, Defendant emphasized disclosure regarding “[t]he

parallel arrangement of the monitoring module 154 and data processing module 156,” but this

disclosure pertains to a specific embodiment and therefore should not be imported into the claim.

See Phillips, 415 F.3d at 1323. Also, Defendant does not show that a “parallel arrangement”

necessarily implies physically separate structures.

       The Court therefore hereby expressly rejects Defendant’s proposed construction. No

further construction is necessary. See U.S. Surgical, 103 F.3d at 1568; see also O2 Micro, 521

F.3d at 1362; Finjan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d at 1291;

Bayer, 989 F.3d at 977–79.

       The Court accordingly hereby construes “signal monitor,” “data processor,” and

“channelizer” to have their plain meaning.

                 VII. DISPUTED TERMS IN U.S. PATENT NO. 8,284,690

       The ’690 Patent, titled “Receiver Determined Probe,” issued on October 9, 2012, and bears

an earliest priority date of December 15, 2008. Plaintiff submits that the ’690 Patent “relates

generally to aiding in the diagnosis of problems with subscriber services.” (Dkt. No. 97 at 4.)

       The Abstract of the ’690 Patent states:



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       According to various embodiments of the disclosed method and apparatus, nodes
       on a network are programmed to generate a probe transmission in response to a
       request from the node that will be receiving the probe. The receiving node may
       generate a probe request that specifies a plurality of parameters, such as a
       modulation profile for the probe; the payload content of the probe; the number of
       times to transmit the probe; a number of symbols for the payload of the probe; a
       preamble type for the probe; a cyclic-prefix length for the payload of the probe; a
       transmit power for the probe; and a transmit power scaling factor for the payload
       of the probe.

10. “probe” and “physical layer probe”

                                             “probe”
                                (’690 Patent, Claims 1, 7, 8, 9, 11)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       A packet transmitted to a network node which
 No construction necessary.                        the node compares to a reference packet
                                                   having a known form in order to determine
                                                   characteristics of the channel on which the
                                                   packet was transmitted.

                                      “physical layer probe”
                                       (’690 Patent, Claim 9)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       “Physical layer probe”        means     probe.
 No construction necessary.                        Otherwise indefinite.


(Dkt. No. 84, at A-10; Dkt. No. 97, at 18; Dkt. No. 104, at 18; Dkt. No. 115, Ex. A, at 7–9 & 11.)

       (a) The Parties’ Positions

       Plaintiff argues that these are different terms and are therefore presumed to have different

meanings. (Dkt. No. 97, at 18.) Plaintiff also argues that “Charter’s proposed construction

imposes on ‘probe’ a lengthy requirement of a specific function, in clear violation of the rule

against importing the specification into the claim.” (Id. (citation omitted).)




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       Defendant responds: “Entropic asserts that ‘probe’ should be construed according to its

plain and ordinary meaning, but it does not explain which of the many ‘plain meanings’ of the

word ‘probe’ applies. Charter’s construction, taken from the patent specification, is the plain

meaning in the context of probes sent between nodes in a network. The DOCSIS specification

confirms this.” (Dkt. No. 104, at 18.) As for Defendant’s proposal of “packet,” Defendant submits

that “‘[p]acket’ is in the construction to avoid having the word ‘probe’ in the construction of

‘probe’ and because probes are packets.” (Id.)

       Plaintiff replies that “Charter grounds its argument to limit ‘probe’ based on post-priority,

extrinsic evidence,” and “Charter’s focus seems to be on the DOCSIS 3.1 cable modems accused

of infringement in this case, thereby committing error in construing the claims with reference to

the accused devices.” (Dkt. No. 110, at 6 (citation omitted).) Also, “with respect to ‘physical

layer probe,’ Charter errs by importing an embodiment into the claims.” (Id.)

       At the June 13, 2023 hearing, Plaintiff alternatively proposed that a “probe” is “a signal

used to determine one or more characteristics of a channel.” Defendant disagreed with Plaintiff’s

alternative proposal, but Defendant had no objection to replacing “packet” with “signal” in

Defendant’s proposed construction.

       (b) Analysis

       The specification discloses that “probes” are used, for example, to determine characteristics

of channels:

       In some instances, probes are sent between nodes of the network in order to allow
       a receiving node on the network to determine some of the characteristics of the
       channel between the receiving node and the transmitting node. These probes are
       typically well defined. Accordingly, the receiving node knows before reception
       what reference signal was transmitted. By comparing the reference probe with the
       actual received probe, the receiver can determine some of the characteristics of the
       channel between the transmitting and receiving node.



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       ***

       In various embodiments, these receiver determined probes may be used in a variety
       of applications. For example, the probes may be used to reach or discover hidden
       nodes; in networks employing orthogonal frequency division multiple access
       (OFDMA), the probes may be used for OFDMA subchannel assessment; or in
       networks accessible by content providers, the probes may be used for off-site
       network diagnosis.

       ***

       In block 204, the requesting node receives the probe generated according to its
       earlier probe request. The received probe may then be used in further processing
       in block 205. In one embodiment, the received probe may be used in channel
       analysis to determine a bitloading table, FEC and other communication parameters
       for OFDM or OFDMA signals for future transmissions from the probe transmitter.
       In another embodiment, post reception processing might comprise generating a
       report from the probe and transmitting this probe report to the requesting node or
       to a designated entity.

’690 Patent at 1:48–57, 2:20–27 & 6:59–7:11.

       Claim 9 of the ’690 Patent is limited to a “physical layer probe,” and the subsequent recitals

of “the probe” in Claim 9 can be readily understood as referring back to the recital of a “physical

layer probe” (emphasis added):

       9. A method comprising:
                a) a first node transmitting a probe request to a second node, the probe
       request specifying a first plurality of probe parameters for a physical layer probe,
       the first plurality of probe parameters comprising a form for the probe including a
       modulation profile for the probe;
                b) the first node receiving the probe from the second node, wherein the
       probe is generated in accordance with the first plurality of parameters and in
       accordance with a second plurality of parameters determined by the second node.

       The other independent claim of the ’690 Patent that recites a “probe” is Claim 1, which

recites (emphasis added):

       1. A method comprising:
               a) receiving in a first node, a probe request specifying a first plurality of
       parameters associated with the generation and transmission of a probe, wherein the
       first plurality of parameters at least specify content payload of the probe and a
       second node;

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                 b) determining a second plurality of parameters associated with generation
        and transmission of the probe;
                 c) generating the probe in accordance with the first plurality of parameters
        and the second plurality of parameters, wherein the probe has a form dictated by
        the first plurality of parameters; and
                 d) transmitting the probe from the first node to the second node.

        Defendant argues that a “probe,” even in Claim 1, is necessarily a physical layer signal. In

some cases, “[d]ifferent terms or phrases in separate claims may be construed to cover the same

subject matter where the written description and prosecution history indicate that such a reading

of the terms or phrases is proper.” Nystrom v. TREX Co., Inc., 424 F.3d 1136, 1143 (Fed. Cir.

2005). Defendant submits that the patent speaks only of generating physical layer (“PHY”)

packets. (Dkt. No. 104, at 18 (citing ’690 Patent at 3:3–5, 3:40–64 & 5:59).) Defendant also

submits authority that “[t]he preference for giving meaning to all terms, however, is not an

inflexible rule that supersedes all other principles of claim construction.” SimpleAir, Inc. v. Sony

Ericsson Mobile Commc’ns AB, 820 F.3d 419, 429 (Fed. Cir. 2016) (citation omitted).

        Defendant also cites the DOCSIS specification, which states “[a] probe is a wideband

physical-layer signal . . . .”      (Dkt. No. 104, Ex. 4, Data-Over-Cable Service Interface

Specifications,   DOCSIS         3.1,   at   20   &    57   (CHARTER_ENTROPIC00101891                  &

CHARTER_ENTROPIC00101928).) This statement, however, is not set forth as a broadly

applicable definition but rather is set forth as part of a discussion of a specific feature. See id.

        On balance, using a “physical layer” probe is a specific feature of particular disclosed

embodiments that should not be imported into the claims. See Phillips, 415 F.3d at 1323. To the

extent Defendant maintains that a “probe” must be a “physical layer” probe because no other type

of probe is disclosed in the specification, Defendant’s argument perhaps may pertain to arguments

regarding the enablement or written description requirements but does warrant importing such a

limitation into the claims.

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       Further, the recital of “a probe” in Claim 1 and “a physical layer probe” in Claim 9, as set

forth above, weighs at least somewhat further against Defendant’s proposal of limiting “probe” to

being a “physical layer probe.” See id. at 1314 (noting that “terms are normally used consistently

throughout the patent,” and “[o]ther claims of the patent in question, both asserted and unasserted,

can also be valuable sources of enlightenment as to the meaning of a claim term”).

       As for Defendant’s proposal of referring to a “packet,” Defendant submits that the patent

relates to packet-based networks, disclosing for example:

       In the illustrated embodiment, the communications protocol specifies a packet
       based communications system. In this embodiment, physical layer (PHY) packets
       comprise preambles and payloads.

’690 Patent at 3:40–44. The specification, however, refers more broadly to a probe “signal.” Id.

at 1:48–57. As noted above, at the June 13, 2023 hearing, Defendant was amenable to replacing

“packet” with “signal.”

       Finally, at the June 13, 2023 hearing, Defendant urged that Plaintiff is attempting to

interpret “probe” to encompass new information, which Defendant argued is contrary to the

specification and the plain meaning of “probe” as referring to a signal that is already known (so

that it can be compared to a reference signal). Defendant’s argument in this regard is persuasive

at least so far as “probe” should be limited to a signal that can be compared to a reference signal

having a known form, and this is consistent with the Description of the Related Art portion of the

specification. See ’690 Patent at 1:48–57 (reproduced above).

       The Court therefore hereby construes these disputed terms as follows:




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               Term                                          Construction

 “probe”                             “a signal transmitted to a network node that the
                                     network node can compare to a reference signal having
 (’362 Patent, Claim 11)
                                     a known form in order to determine characteristics of
                                     the channel on which the signal was transmitted”

 “physical layer probe”              Plain meaning (apart from the Court’s construction of
                                     “probe,” above)
 (’690 Patent, Claim 9)

11. “probe request”

                                        “probe request”
                            (’690 Patent, Claims 1, 7, 8, 9, 11, 15, 16)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       A request sent by a first network node to a
 No construction necessary.                        second network node which defines the form
                                                   of a probe to be generated and transmitted by
                                                   the second network node. The probe request
                                                   specifies at least the content payload of the
                                                   probe.

(Dkt. No. 84, at A-11; Dkt. No. 97, at 19; Dkt. No. 104, at 19; Dkt. No. 115, Ex. A, at 7–12.)

       (a) The Parties’ Positions

       Plaintiff argues that “[t]he plain language of the claims confirms that ‘probe request’ means

exactly what it sounds like—a request for a probe.” (Dkt. No. 97, at 19.) Plaintiff also argues that

Defendant’s proposed construction is confusing and incorporates features that are recited

elsewhere in the claims. (Id., at 20.)

       Defendant responds that “‘probe request’ could not possibly have had a plain and ordinary

meaning in the context of the alleged invention” because “[t]he probe request is the invention.”

(Dkt. No. 104, at 19.) Defendant submits that “the specification explains exactly




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what this allegedly novel ‘probe request’ is.” (Id.) Further, Defendant argues that “to whatever

extent the inventor’s definition of ‘probe request’ makes that definition redundant with other claim

language, the inventor’s definition still governs . . . .” (Id., at 20.)

        Plaintiff replies that “well-known components can be used or joined in novel ways,” and

“[h]ere, ‘probe request’ means simply a request for a probe,” which “must meet certain criteria,

but those are defined by the other elements of the claim, not by ‘probe request’ itself.” (Dkt.

No. 110, at 7.) Plaintiff also argues that “[Defendant’s] resort to lexicography fails because the

relied-upon passage is a description, not a definition which meets the high and ‘exacting’ legal

hurdle.” (Id. (citation omitted).)

        At the June 13, 2023 hearing, Plaintiff argues that a “probe request” could specify things

other than form, such as transmission power.

        (b) Analysis

        Claim 1 of the ’690 Patent recites (emphasis added):

        1. A method comprising:
                 a) receiving in a first node, a probe request specifying a first plurality of
        parameters associated with the generation and transmission of a probe, wherein the
        first plurality of parameters at least specify content payload of the probe and a
        second node;
                 b) determining a second plurality of parameters associated with generation
        and transmission of the probe;
                 c) generating the probe in accordance with the first plurality of parameters
        and the second plurality of parameters, wherein the probe has a form dictated by
        the first plurality of parameters; and
                 d) transmitting the probe from the first node to the second node.

The Brief Summary section of the specification states:

        The receiving node may generate a probe request that specifies a plurality of
        parameters to be used in such a “receiver determined” probe to generate a probe
        having the “form” specified by these parameters. Accordingly, the probe request
        specifies a plurality of parameters associated with the generation and transmission
        of a probe, including the content of a payload of the probe. In one embodiment,
        the parameters further include: the modulation profile for the probe; the payload

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       content of the probe; the number of times to transmit the probe; the number of
       symbols for the payload of the probe; the preamble type for the probe; the cyclic-
       prefix length for the payload of the probe; the transmit power for the probe; and the
       transmit power scaling factor for the payload of the probe. Accordingly, the probe
       that is transmitted in response to the probe request will have a form dictated by the
       parameters specified in the probe request.

’690 Patent at 2:3–19.

       Contrary to Defendant’s suggestion that this disclosure amounts to a definition, no

lexicography is apparent. That is, Defendant does not identify any expression of a clear intent by

the patentee to set forth a definition for the term “probe request.” See Irdeto Access, Inc. v.

EchoStar Satellite Corp., 383 F.3d 1295, 1301 (Fed. Cir. 2004) (“It is well-established that the

patentee can act as his own lexicographer, so long as he clearly states any special definitions of

the claim terms in the patent specification or file history.”) (emphasis added) (citing Vitronics, 90

F.3d at 1582).

       Nonetheless, “terms coined by the inventor are best understood by reference to the

specification.” Intervet Inc. v. Merial Ltd., 617 F.3d 1282, 1287 (Fed. Cir. 2010) (citing Phillips,

415 F.3d at 1315). Plaintiff replies that “‘probe request’ means simply a request for a probe,” but

Plaintiff does not demonstrate that the term “probe request” has any established meaning in the

art. The above-reproduced disclosure explains that, as used in the ’690 Patent, a probe request is

sent by one network node to another network node and defines the form of a probe to be generated

and transmitted.

       As for Defendant’s proposal that “[t]he probe request specifies at least the content payload

of the probe,” however, the above-reproduced disclosure refers to the payload but the above-

reproduced claim language already specifically recites “the first plurality of parameters at least

specify content payload of the probe and a second node,” which weighs against including this

specific requirement in the construction of “probe request.” See, e.g., Apple, Inc. v. Ameranth,

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Inc., 842 F.3d 1229, 1237 (Fed. Cir. 2016) (“Construing a claim term to include features of that

term already recited in the claims would make those expressly recited features redundant.”).

       The Court therefore hereby construes “probe request” to mean “a request, sent by one

network node to another network node, that specifies the form of a probe to be generated

and transmitted.”

12. “generating the probe in accordance with the first plurality of parameters and the second
plurality of parameters, wherein the probe has a form dictated by the first plurality of
parameters,” “wherein the probe is generated in accordance with the first plurality of
parameters and in accordance with a second plurality of parameters determined by the
second node,” and “the first plurality of probe parameters comprising a form for the probe
including a modulation profile for the probe”

     “generating the probe in accordance with the first plurality of parameters and the
     second plurality of parameters, wherein the probe has a form dictated by the first
                                 plurality of parameters”
                                   (’690 Patent, Claim 1)

 “wherein the probe is generated in accordance with the first plurality of parameters and
  in accordance with a second plurality of parameters determined by the second node”
                                  (’690 Patent, Claim 9)

   “the first plurality of probe parameters comprising a form for the probe including a
                              modulation profile for the probe”
                                    (’690 Patent, Claim 9)

 Plaintiff’s Proposed Construction               Defendant’s Proposed Construction

 Plain and ordinary meaning.                     Indefinite
 No construction necessary.

(Dkt. No. 84, at A-11–A-12; Dkt. No. 97, at 21; Dkt. No. 104, at 20; Dkt. No. 115, Ex. A, at 7–8

& 10–11.)




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       (a) The Parties’ Positions

       Plaintiff argues that these terms are not indefinite because “[a] POSITA would understand

there are two sets of parameters—one set which relates to the probe’s form, and another set relating

to any characteristic of the probe.” (Dkt. No. 97, at 21.)

       Defendant argues that “the claims cover the form of the probe being determined only by

the parameters in the probe request,” and “[t]his renders the claims indefinite” because “[i]f the

parameters determined by the probe transmitter are used to generate the probe, those parameters

necessarily contribute to defining the form of the probe,” and “it is impossible to imagine a

parameter used to generate a probe that does not relate to its form.” (Dkt. No. 104, at 21.)

       Plaintiff replies that “the probe may be based on additional information, namely

‘information that previously existed within the transmitting node.’” (Dkt. No. 110, at 8 (citing

’690 Patent at 6:42–45).)

       At the June 13, 2023 hearing, Defendant urged that any parameter used to generate

something is related to its form. Plaintiff responded that the probe transmitter can define some

parameters, such as transmission power, based on information existing within the transmitter.

       (b) Analysis

       Claim 1 of the ’690 Patent recites (emphasis added):

       1. A method comprising:
                a) receiving in a first node, a probe request specifying a first plurality of
       parameters associated with the generation and transmission of a probe, wherein the
       first plurality of parameters at least specify content payload of the probe and a
       second node;
                b) determining a second plurality of parameters associated with generation
       and transmission of the probe;
                c) generating the probe in accordance with the first plurality of parameters
       and the second plurality of parameters, wherein the probe has a form dictated by
       the first plurality of parameters; and
                d) transmitting the probe from the first node to the second node.



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       The “generating . . .” limitation thus involves a “first plurality of parameters” that dictates

the form of the probe and a “second plurality of parameters” that is not recited as dictating the

form of the probe. The manner in which “generating the probe” is “in accordance” with the

“second plurality of parameters” thus is not recited.

       Defendant does not show that this gives rise to any inconsistency. The same is true as to

the “. . . is generated . . .” and “parameters” limitations recited in Claim 9 of the ’690 Patent. The

indefiniteness opinion of Defendant’s expert is unpersuasive. (See Dkt. No. 104, Ex. 8, Apr. 4,

2023 Almeroth Decl. at ¶ 84.) Moreover, the opinion of Plaintiff’s expert is persuasive that the

“second plurality of parameters” could, for example, affect a payload portion of a probe without

affecting the form of the probe. (Dkt. No. 97, Ex. 7, Apr. 14, 2023 Kramer Decl. at ¶ 138.)

       Also, Plaintiff persuasively argued at the June 13, 2023 hearing that the transmitter of a

probe could define some non-form parameters, such as transmission power, timing, or destination,

“based upon information that previously existed within the transmitting node.” See ’690 Patent at

6:33–45.

       Finally, Defendant argues that “the specification says nothing about putting parameters

into probe payloads.” (Dkt. No. 104, at 22.) This argument perhaps may pertain to arguments

regarding enablement or written description, but this does not raise any concern regarding

indefiniteness.

       The Court therefore hereby expressly rejects Defendant’s indefiniteness argument, and

Defendant presents no alternative proposed constructions.

       The Court accordingly hereby construes these terms to have their plain meaning.




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                 VIII. DISPUTED TERMS IN U.S. PATENT NO. 9,210,362

       The ’362 Patent, titled “Wideband Tuner Architecture,” issued on December 8, 2015, and

bears an earliest priority date of April 19, 2010. Plaintiff submits that the ’362 Patent “relates

generally to a receiver system configured to receive a number of channels across a broad radio

frequency (RF) spectrum.” Dkt. No. 97 at 5.

       The Abstract of the ’362 Patent states:

       A wideband receiver system comprises a mixer module, a wideband analog-to-
       digital converter (ADC) module, and digital circuitry. The mixer module is
       configured to downconvert a plurality of frequencies that comprises a plurality of
       desired television channels and a plurality of undesired television channels. The
       wideband ADC module is configured to digitize the swatch [sic, swath] of
       frequencies comprising the plurality of desired television channels and the plurality
       of undesired television channels. The digital circuitry is configured to select the
       desired plurality of television channels from the digitized plurality of frequencies,
       and output the selected plurality of television channels to a demodulator as a digital
       datastream.

13. “downconverting . . . a plurality of frequencies” and Order of Steps in Claim 11

                       “downconverting . . . a plurality of frequencies”
                                 (’362 Patent, Claim 11)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       Downconverting a plurality of frequencies of
 No construction necessary.                        an analog radio frequency (RF) signal.

                                         Order of Steps
                                     (’362 Patent, Claim 11)

 Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

 Plain and ordinary meaning.                       Claimed steps must be performed in the order
 No construction necessary.                        recited in the claim.


(Dkt. No. 84, at A-13; Dkt. No. 97, at 22 & 24; Dkt. No. 104, at 24; Dkt. No. 115, Ex. A, at 12–

13.)


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       (a) The Parties’ Positions

       Plaintiff submits that “[t]here seems to be general agreement that downconverting is well-

understood” and that “[t]he process brings ‘down’ the frequency of a signal, using a ‘mixer’ or a

‘mixing’ process.” (Dkt. No. 97, at 23.) Plaintiff argues that no order of steps is required because

“[t]here is no grammatical or logical reason why digitizing cannot occur before downconverting

or vice versa since claim 11 states these steps are performed on the same object—the ‘plurality of

frequencies.’” (Dkt. No. 97, at 25.) Plaintiff also argues that “because the digitizing step does not

refer to the output of the ‘downconverting’ step (but rather its input), the claim itself requires no

particular order of those steps.” (Id., at 24.) Further, Plaintiff argues that “[v]iewed in light of the

differently ordered embodiments disclosed in the specification, Charter’s request for an order of

the steps limitation is nothing more than a second attempt by Charter to require that the claimed

downconverting is done on an analog signal only.” (Id., at 25–26.) Finally, Plaintiff argues that

there is no basis for limiting the downconverting to only “radio frequency (RF)” signals. (Id.)

       Defendant responds that “the language of claim 11 itself dictates that the steps be

performed in the order written,” and “even if the structure of the claim did not mandate the order

of the steps (it does), the specification ‘directly or implicitly requires’ that the claims be performed

in order.” (Dkt. No. 104, at 24 & 25 (citation omitted).) “Finally,” Plaintiff submits, “claim 11 is

written to track the order in which the steps are performed in the specification.” (Id., at 26.)

       Plaintiff replies that “read in light of the specification, the claim envisions digital and/or

analog downconversion of desired and undesired channels.” (Dkt. No. 110, at 9.)

       At the June 13, 2023 hearing, Defendant argued that Plaintiff is attempting to excise the

entire invention from the claim because the purported invention is to reduce the need for expensive

analog-to-digital converters by downconverting before digitizing. See ’362 Patent at 2:20–27 &



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2:45–55. Plaintiff responded that the Defendant’s argument is unavailing because the specification

also discloses digital downconversion. See id. at 5:31–58 & 9:11–34.

       (b) Analysis

       “As a general rule, ‘[u]nless the steps of a method [claim] actually recite an order, the steps

are not ordinarily construed to require one.’” Mformation Techs., Inc. v. Research in Motion Ltd.,

764 F.3d 1392, 1398 (Fed. Cir. 2014) (quoting Interactive Gift Express, Inc. v. Compuserve, Inc.,

256 F.3d 1323, 1342 (Fed. Cir. 2001)).

       Courts apply a two-part test to determine whether a particular order of steps is required:

“First, we look to the claim language to determine if, as a matter of logic or grammar, they must

be performed in the order written,” and “[i]f not, we next look to the rest of the specification to

determine whether it directly or implicitly requires such a narrow construction.” Altiris, Inc. v.

Symantec Corp., 318 F.3d 1363, 1369–70 (Fed. Cir. 2003) (citation omitted).

       Claim 11 of the ’362 Patent recites (emphasis added):

       11. A method comprising:
             in a wideband receiver system:
                 downconverting, by a mixer module of said wideband receiver
                     system, a plurality of frequencies that comprises a plurality of
                     desired television channels and a plurality of undesired
                     television channels;
                 digitizing, by a wideband analog-to-digital converter (ADC) module
                     of said wideband receiver system, said plurality of frequencies
                     comprising said plurality of desired television channels and said
                     plurality of undesired television channels;
                 selecting, by digital circuitry of said wideband receiver system, said
                     plurality of desired television channels from said digitized
                     plurality of frequencies; and
                 outputting, by said digital circuitry of said wideband receiver
                     system, said selected plurality of television channels to a
                     demodulator as a digital datastream.

       In some cases, “the sequential nature of the claim steps is apparent from the plain meaning

of the claim language.” See Mantech Envtl. Corp. v. Hudson Envtl. Servs., Inc., 152 F.3d 1368,

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1376 (Fed. Cir. 1998); see also E-Pass Techs., Inc. v. 3Com Corp., 473 F.3d 1213, 1222 (Fed. Cir.

2007) (“[B]ecause the language of most of the steps of its method claim refer to the completed

results of the prior step, E–Pass must show that all of those steps were performed in order.”).

        Here, the “downconverting . . .” step and the “digitizing . . .” step both operate on the same

“plurality of frequencies,” and there is no reference to “completed results of the prior step.” Id.

Rather, the “downconverting . . .” step and the “digitizing . . .” step both refer to the same “plurality

of frequencies” without any indication that one of these steps must necessarily be performed before

the other. Further, because the “digitizing . . .” step could potentially be performed before the

“downconverting . . .” step, the Court rejects Defendant’s proposal to limit “downconverting . . . a

plurality of frequencies” to downconverting a plurality of frequencies of an analog radio frequency

(RF) signal.

        The “selecting . . .” step, by contrast, refers to “said digitized plurality of frequencies.” The

“digitizing . . .” step must therefore be performed before the “selecting . . .” step. Id.

        The “outputting . . .” step refers to “said selected plurality of television channels.” The

“selecting . . .” step must therefore be performed before the “outputting . . .” step. Id.

        Finally, Defendant does not persuasively justify limiting the claim to “radio frequency

(RF)” signals. Defendant’s reliance on the “complex mixer module” 211/221 illustrated in Figure

2 is unavailing. (See Dkt. No. 104, at 25–26 (discussing ’362 Patent at Fig. 2).) To the extent the

specification discloses downconverting radio frequencies, the use of radio frequencies is a

particular feature of disclosed embodiments that should not be imported into the claim. See

Phillips, 415 F.3d at 1323.

        The Court therefore hereby construes these disputed terms as follows:




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              Term                                         Construction

 “downconverting . . .             Plain meaning
 a plurality of frequencies”
 (’362 Patent, Claim 11)

 Order of Steps in Claim 11        In Claim 11 of the ’362 Patent, the “digitizing . . .” step
 of the ’362 Patent                must be performed before the “selecting . . .” step, and
                                   the “selecting . . .” step must be performed before the
                                   “outputting . . .” step. No other order of steps is
                                   required.

                 IX. DISPUTED TERMS IN U.S. PATENT NO. 10,135,682

       The ’682 Patent, titled “Method and System for Service Group Management in a Cable

System,” issued on November 20, 2018, and bears an earliest priority date of July 23, 2012.

Plaintiff submits that the ’682 Patent “relates generally to organizing cable modems (CMs) into

service groups based on signal-to-noise ratio (SNR) related metrics.” (Dkt. No. 97, at 5.)

       The Abstract of the ’682 Patent states:

       A cable modem termination system (CMTS) may determine, for a plurality of cable
       modems served by the CMTS, a corresponding plurality of SNR-related metrics.
       The CMTS may assigning [sic] the modems among a plurality of service groups
       based on the SNR-related metrics. For any one of the modems, the CMTS may
       configure physical layer communication parameters to be used by the one of the
       modems based on a SNR-related metric of a service group to which the one of the
       modems is assigned. The physical layer communication parameters may include
       one or more of: transmit power, receive sensitivity, timeslot duration, modulation
       type, modulation order, forward error correction (FEC) type, and FEC code rate.
       The CMTS and the modems may communicate using orthogonal frequency
       division multiplexing (OFDM) over a plurality of subcarriers, and the physical
       layer communication parameters may be determined on a per-subcarrier basis.




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14. “a composite SNR-related metric based at least in part on a worst-case SNR profile of
said SNR-related metrics”

   “a composite SNR-related metric based at least in part on a worst-case SNR profile of
                              said SNR-related metrics”
                                 (’682 Patent, Claim 1)

 Plaintiff’s Proposed Construction                  Defendant’s Proposed Construction

 Plain and ordinary meaning.                        Indefinite
 No construction necessary.


(Dkt. No. 84, at A-14; Dkt. No. 97, at 26; Dkt. No. 104, at 27; Dkt. No. 115, Ex. A, at 14.)

       (a) The Parties’ Positions

       Plaintiff argues that “[a]ny POSITA familiar with hybrid fiber coaxial (‘HFC’) networks

understands what is meant by an SNR profile and SNR-related metrics,” and “the adjectives

‘worst-case’ and ‘composite’ have plain meanings to a POSITA.” (Dkt. No. 97, at 26 (citations

omitted).) Plaintiff also argues that “[t]he specification confirms the claim terms are used in accord

with a POSITA’s expectations.” (Id.)

       Defendant responds that “[t]here is nothing about this limitation that finds any support in

the specification.” (Dkt. No. 104, at 27.) Defendant argues: “In view of the specification,

‘composite SNR-related metric’ cannot mean a ‘composite best-case SNR profile.’ It can only

refer to the ‘worst-case.’ And the claim is therefore indefinite, as there is no difference between

‘composite SNR-related metric’ and ‘worst-case SNR profile.’” (Id., at 28.)

       Plaintiff replies that “Charter’s indefiniteness position is a chain of argument ultimately

resting on a false equivalence of ‘composite SNR-related metric’ and ‘worst-case SNR profile,’”

but “[t]hey are not the same thing.” (Dkt. No. 110, at 9.) Plaintiff also submits that “composite

metrics based on SNR-related metrics generally (not merely worst-case) are, in fact, disclosed.”

(Id. (citing ’682 Patent at 4:40–52).)

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       At the June 13, 2023 hearing, Defendant argued that Plaintiff does not provide any

purported plain meaning for this “composite” term. Defendant submitted that the specification

discloses only a “composite worst-case SNR profile.” See ’682 Patent at 4:9–20. Defendant urged

that the disputed term is indefinite because the “composite SNR-related metric” cannot be based

on the “worst-case SNR profile” if they are both the same thing. Plaintiff responded that

“composite” means that something is for more than one cable modem and that a “profile” is

something that involves multiple attributes (such as several frequency ranges). Plaintiff concluded

that a person of ordinary skill in the art would understand that the term “composite SNR-related

metric” relates to multiple cable modems and could be a profile (such as for several different

frequency ranges) or could instead be a single composite metric, such as an average.

       (b) Analysis

       Claim 1 of the ’682 Patent recites (emphasis added):

       1. A method comprising:
               determining, by a cable modem termination system (CMTS), for each cable
       modem served by said CMTS, a corresponding signal-to-noise ratio (SNR) related
       metric;
               assigning, by said CMTS, each cable modem among a plurality of service
       groups based on a respective corresponding SNR-related metric;
               generating, by said CMTS for each one of said plurality of service groups,
       a composite SNR-related metric based at least in part on a worst-case SNR profile
       of said SNR-related metrics corresponding to said one of said plurality of service
       groups;
               selecting, by said CMTS, one or more physical layer communication
       parameter to be used for communicating with said one of said plurality of service
       groups based on said composite SNR-related metric; and
               communicating, by said CMTS, with one or more cable modems
       corresponding to said one of said plurality of service groups using said selected one
       or more physical layer communication parameter.

       Defendant argues that the specification fails to distinguish between “a composite SNR-

related metric” and “a worst-case SNR profile.” This argument perhaps may pertain to arguments

regarding enablement or written description, but Defendant does not show any lack of reasonable

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certainty in the claim language itself. Rather, the claim merely recites a worst-case SNR profile

that is based on the SNR-related metrics that correspond to each cable modem, and the composite

SNR-related metric, in turn, is based on the worst-case SNR profile. The opinions of Plaintiff’s

expert are further persuasive in this regard. (See Dkt. No. 97, Ex. 7, Apr. 14, 2023 Kramer Decl.

at ¶¶ 166 & 168–169; see, e.g., ’682 Patent at 4:9–20, 5:7–12 & 5:42–57 & Fig. 2C.) Plaintiff’s

arguments at the June 13, 2023 hearing (summarized above) are likewise persuasive.

          The Court therefore hereby expressly rejects Defendant’s indefiniteness argument, and

Defendant presents no alternative proposed construction.

          The Court accordingly hereby construes “a composite SNR-related metric based at least

in part on a worst-case SNR profile of said SNR-related metrics” to have its plain meaning.

15. “service group[s]”

                                       “service group[s]”
                                          (’682 Patent)

 Plaintiff’s Proposed Construction                Defendant’s Proposed Construction

 Plain and ordinary meaning.                      A “service group” is the complete set of
 No construction necessary.                       downstream and upstream channels within a
                                                  single CMTS that a single cable modem could
                                                  potentially receive or transmit on.

(Dkt. No. 84, at A-15; Dkt. No. 97, at 28; Dkt. No. 104, at 28–29; Dkt. No. 115, Ex. A, at 14.)

          (a) The Parties’ Positions

          Plaintiff argues that “[a] ‘service group’ is a plain English term, and the claim and

specification confirm that the groups consist of cable modems (CMs), not channels.” (Dkt. No. 97,

at 28.)     “Furthermore,” Plaintiff argues, “Charter is attempting to join the upstream and

downstream channels without basis in the claim language and contrary to the specification.” (Id.)




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       Defendant responds that “[t]he DOCSIS specification itself provides the plain meaning

definition of a ‘cable modem service group’ in the cable television industry (a definition Charter

identified in the P.R. 4-3 statement but which Entropic entirely ignores in its brief) . . . .” (Dkt.

No. 104, at 29 (citation omitted).)

       Plaintiff replies that “[n]othing in the opposition overcomes the central point—the ’682

Patent is described in terms of service groups consisting of groups of cable modems (CMs).” (Dkt.

No. 110, at 9.) Plaintiff also argues that “whatever DOCSIS might have later said, its use of terms

cannot overcome the ’682 Patent’s usage.” (Id., at 10.)

       At the June 13, 2023 hearing, the parties submitted this disputed term without oral

argument.

       (b) Analysis

       Claim 1 of the ’682 Patent recites (emphasis added):

       1. A method comprising:
               determining, by a cable modem termination system (CMTS), for each cable
       modem served by said CMTS, a corresponding signal-to-noise ratio (SNR) related
       metric;
               assigning, by said CMTS, each cable modem among a plurality of service
       groups based on a respective corresponding SNR-related metric;
               generating, by said CMTS for each one of said plurality of service groups,
       a composite SNR-related metric based at least in part on a worst-case SNR profile
       of said SNR-related metrics corresponding to said one of said plurality of service
       groups;
               selecting, by said CMTS, one or more physical layer communication
       parameter to be used for communicating with said one of said plurality of service
       groups based on said composite SNR-related metric; and
               communicating, by said CMTS, with one or more cable modems
       corresponding to said one of said plurality of service groups using said selected one
       or more physical layer communication parameter.

Defendant relies on the following portion of a DOCSIS specification:

       Cable Modem Service Group




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       In the HFC plant topology, the complete set of downstream and upstream channels
       within a single CMTS that a single Cable Modem could potentially receive or
       transmit on. In most HFC deployments, a CM-SG corresponds to a single Fiber
       Node. Usually, a CM-SG serves multiple CMs.

(Dkt. No. 104, Ex. 5, Data-Over-Cable Service Interface Specifications, DOCSIS 3.0, at 11

(CHARTER_ENTROPIC00101160).)

       Because this definition refers to a set of channels that each cable modem can use (rather

than a set of cable modems in a system of cable modems), this definition does not inform how the

term “service group” is used in the ’682 Patent, which refers to grouping cable modems:

       FIGS. 4A and 4B illustrate the network of FIG 1, with different groupings of CMs
       [(cable modems)] based on one or both of: measured performance metric(s) and
       location within the HFC network.

       ***

       While FIGS. 3A and 3B depict SNR profiles and location as two separate bases on
       which to assign CMs to service groups, the two may be used in combination.

See ’682 Patent at 2:24–27 & 6:39–41.

       The Court therefore hereby expressly rejects Defendant’s proposed construction. No

further construction is necessary, particularly in light of the above-noted context provided by the

specification. See U.S. Surgical, 103 F.3d at 1568; see also O2 Micro, 521 F.3d at 1362; Finjan,

626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d at 1291; Bayer, 989 F.3d

at 977–79.

       The Court accordingly hereby construes “service group[s]” to have its plain meaning.




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16. “[communicating with/corresponding to] said one of said plurality of service groups”

   “[communicating with/corresponding to] said one of said plurality of service groups”
                                (’682 Patent, Claim 1)

 Plaintiff’s Proposed Construction                Defendant’s Proposed Construction

 Plain and ordinary meaning.                      Indefinite
 No construction necessary.

(Dkt. No. 84, at A-16; Dkt. No. 97, at 30; Dkt. No. 104, at 30; Dkt. No. 115, Ex. A, at 14–15.)

       (a) The Parties’ Positions

       Plaintiff argues that “Claim 1 itself of the ’682 Patent is clear on how service groups,

composed of cable modems, and the CMTS communicate . . . .” (Dkt. No. 97, at 30.) Plaintiff

also submits that “[t]he specification has a multitude of references to the communication with the

service group by way of, for example, physical layer parameters since the invention could not work

without communication.”      (Id. (citations omitted).)   “Further,” Plaintiff argues, “the terms

‘communicating,’ ‘corresponding,’ and ‘plurality’ each have plain English meanings that are well-

understood, and the combination of the terms do not create any ambiguity.” (Id.)

       Defendant responds: “There is no antecedent basis for ‘said one of said plurality of service

groups,’ and there is no way to know which one service group among the ‘plurality of service

groups’ the ‘communicating’ and ‘corresponding’ steps should be performed on. The claim is

therefore indefinite.” (Dkt. No. 104, at 30.)

       Plaintiff replies:

       The ’682 Patent criticizes the folly of lumping all CMs together in a “lowest
       common denominator” approach. ’682 Patent, 5:50–57. Instead, the ’682 Patent
       groups CMs based on their performance (SNR). For each group, the invention can
       choose communication parameters based on group performance. The chosen
       parameters are used to communicate with that group. E.g., id. at 5:42–50. This is
       precisely what the claim does. The “generating” step requires creating a composite
       metric for each service group. The “selecting step” uses the composite metric for


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       a particular service group to choose one or more parameter(s) to use with that
       group. The “communicating” step uses the selected parameter(s) to communicate
       with that group.

(Dkt. No. 110, at 10.)

       At the June 13, 2023 hearing, the parties submitted this disputed term without oral

argument.

       (b) Analysis

       Claim 1 of the ’682 Patent recites (emphasis added):

       1. A method comprising:
               determining, by a cable modem termination system (CMTS), for each cable
       modem served by said CMTS, a corresponding signal-to-noise ratio (SNR) related
       metric;
               assigning, by said CMTS, each cable modem among a plurality of service
       groups based on a respective corresponding SNR-related metric;
               generating, by said CMTS for each one of said plurality of service groups,
       a composite SNR-related metric based at least in part on a worst-case SNR profile
       of said SNR-related metrics corresponding to said one of said plurality of service
       groups;
               selecting, by said CMTS, one or more physical layer communication
       parameter to be used for communicating with said one of said plurality of service
       groups based on said composite SNR-related metric; and
               communicating, by said CMTS, with one or more cable modems
       corresponding to said one of said plurality of service groups using said selected one
       or more physical layer communication parameter.

       The recital of “a plurality of service groups” provides antecedent basis for “said plurality

of service groups.”

       The parties dispute whether the recital of “each one of said plurality of service groups”

provides antecedent basis for “said one of said plurality of service groups.”

       At first blush, the recital of “said one of said plurality of service groups” appears to fail to

specify which one of the plurality of service groups. This is the opinion of Defendant’s expert.

(Dkt. No. 97, Ex. 8, Apr. 4, 2023 Almeroth Decl. at ¶ 97 (“there is no way to know which one

service group among the ‘plurality of service groups’ is being referred to”).)

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       A fair reading, however, is that “said one of said plurality of service groups” refers back to

“each one of said plurality of service groups.” In other words, the steps that refer to “said one of

said plurality of service groups” must be performed for each and every one of the plurality of

service groups. This is apparent on the face of the claim and is also consistent with Figure 3A of

the ’682 Patent referring to determining parameters “per service group,” and the opinion of

Plaintiff’s expert is further persuasive. (See Dkt. No. 97, Ex. 7, Apr. 14, 2023 Kramer Decl. at ¶¶

176–77.) The contrary opinion of Defendant’s expert is unpersuasive. (Dkt. No. 97, Ex. 8, Apr.

4, 2023 Almeroth Decl. at ¶ 97.)

       Indeed, the claim recites only one “one of said plurality of service groups,” so the reference

to “said one” is reasonably clear. Thus, to whatever extent this term is deemed to lack explicit

antecedent basis, the antecedent basis is implicit. See Energizer Holdings Inc. v. Int’l Trade

Comm’n, 435 F.3d 1366, 1371 (Fed. Cir. 2006) (holding that “an anode gel comprised of zinc as

the active anode component” provided implicit antecedent basis for “said zinc anode”); see also

Ex Parte Porter, 25 U.S.P.Q. 2d (BNA) 1144, 1145 (B.P.A.I. 1992) (“The term ‘the controlled

fluid’ . . . finds reasonable antecedent basis in the previously recited ‘controlled stream of fluid

. . . .’”); Fisher-Price, Inc. v. Graco Children’s Prods., No. 05–1258, 154 F. App’x 903, 909 (Fed.

Cir. Nov. 4, 2005) (“[a] claim is not invalid for indefiniteness if its antecedent basis is present by

implication”) (citations omitted). The burden is on Defendant to show a lack of reasonable

certainty, and Defendant has not met that burden. See Nautilus, 572 U.S. at 910; see also Sonix,

844 F.3d at 1377.

       The Court therefore hereby expressly rejects Defendant’s indefiniteness argument, and

Defendant presents no alternative proposed construction.




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       The Court accordingly hereby construes “[communicating with/corresponding to] said

one of said plurality of service groups” to have its plain meaning.

                                     X. CONCLUSION

       The Court adopts the constructions set forth in this opinion for the disputed terms of the

patents-in-suit, and as summarized below.

                Disputed Term                             The Court’s Construction

 “a data networking engine implemented in a Plain meanings.
 first circuit that includes at least one processor
 . . .”
 (’775 Patent, Claim 18)


 “a cable modem engine implemented in a
 second circuit that includes at least one
 processor . . .”
 (’775 Patent, Claim 18)

 “data bus”                                      Plain meaning
 (’775 Patent, Claim 18)

 “wherein the cable modem functions              “wherein the cable modem engine and the data
 performed by the cable modem engine are         networking engine are not necessarily
 completely partitioned from the home            physically separate but are functionally
 networking functions performed by the data      separate such that the cable modem functions
 networking engine”                              are performed only by the cable modem engine
                                                 and the home networking functions are
 (’775 Patent, Claim 18)
                                                 performed only by the data networking
                                                 engine”

 “DOCSIS functions”                              Plain meaning.
 (’775 Patent, Claim 19)




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 “DOCSIS MAC processor”                          Plain meanings.
 (’775 Patent, Claim 18)


 “DOCSIS controller”
 (’775 Patent, Claim 18)

 “network management messages”                   “messages which report on the network based
                                                 on the measured characteristics”
 (’826 Patent, Claim 1)

 “operable to”                                   “configured to”
 (’008 Patent, Claim 1)

 “digitize a received signal spanning an entire Plain meaning.
 television spectrum comprising a plurality of
 television channels”
 (’008 Patent, Claim 1)

 “signal monitor”                                Plain meanings.
 “data processor”
 “channelizer”
 (’008 Patent, Claim 1)

 “probe”                                         “a signal transmitted to a network node that the
                                                 network node can compare to a reference
 (’690 Patent, Claims 1, 7, 8, 9, 11)
                                                 signal having a known form in order to
                                                 determine characteristics of the channel on
                                                 which the signal was transmitted”

 “physical layer probe”                          Plain meaning (apart from the Court’s
                                                 construction of “probe,” above).
 (’690 Patent, Claim 9)

 “probe request”                                 “a request, sent by one network node to
                                                 another network node, that specifies the form
 (’690 Patent, Claims 1, 7, 8, 9, 11, 15, 16)
                                                 of a probe to be generated and transmitted”




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 “generating the probe in accordance with the Plain meanings.
 first plurality of parameters and the second
 plurality of parameters, wherein the probe has
 a form dictated by the first plurality of
 parameters”
 (’690 Patent, Claim 1)


 “wherein the probe is generated in accordance
 with the first plurality of parameters and in
 accordance with a second plurality of
 parameters determined by the second node”
 (’690 Patent, Claim 9)


 “the first plurality of probe parameters
 comprising a form for the probe including a
 modulation profile for the probe”
 (’690 Patent, Claim 9)



 “downconverting      .   .   .   a   plurality   of Plain meaning.
 frequencies”
 (’362 Patent, Claim 11)

 Order of Steps                                      In Claim 11 of the ’362 Patent, the “digitizing
                                                     . . .” step must be performed before the
 (’362 Patent, Claim 11)
                                                     “selecting . . .” step, and the “selecting . . .”
                                                     step must be performed before the “outputting
                                                     . . .” step. No other order of steps is required.

 “a composite SNR-related metric based at least Plain meaning.
 in part on a worst-case SNR profile of said
 SNR-related metrics”
 (’682 Patent, Claim 1)

 “service group[s]”                                  Plain meaning.
 (’682 Patent)


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 “[communicating with/corresponding to] said Plain meaning.
 one of said plurality of service groups”
 (’682
  .    Patent, Claim 1)

       The parties are ORDERED that they may not refer, directly or indirectly, to each other’s

claim construction positions in the presence of the jury. Likewise, the parties are ORDERED to

refrain from mentioning any portion of this opinion, other than the actual definitions adopted by

the Court, in the presence of the jury. Any reference to claim construction proceedings is limited

to informing the jury of the definitions adopted by the Court.

     So ORDERED and SIGNED this 26th day of June, 2023.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




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